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          EXHIBIT 2-B
    Redacted Version of
Document Sought to be Sealed
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                            HIGHLY CONFIDENTIAL

1                     UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
      IN RE:     FACEBOOK, INC.,                MDL No. 2843
4     CONSUMER USER PROFILE                     Case No.
      LITIGATION                                18-md-02843-VC-JSC
5     ___________________________
6     This document relates to:
7     ALL ACTIONS
8
      ____________________________
9
10                      **HIGHLY CONFIDENTIAL**
11
12             ZOOM DEPOSITION OF FACEBOOK's 30(b)(6)
13          CORPORATE REPRESENTATIVE - MICHAEL FAHEY
14    (Reported Remotely via Video & Web Videoconference)
15     Steamboat Springs, Colorado (Deponent's location)
16                      Thursday, July 21, 2022
17                                  Volume 1
18
19
20
      STENOGRAPHICALLY REPORTED BY:
21    REBECCA L. ROMANO, RPR, CSR, CCR
      California CSR No. 12546
22    Nevada CCR No. 827
      Oregon CSR No. 20-0466
23    Washington CCR No. 3491
24    JOB NO. 5300517
25    PAGES 1 - 113

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1                     UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3
      IN RE:    FACEBOOK, INC.,                 MDL No. 2843
4     CONSUMER USER PROFILE                     Case No.
      LITIGATION                                18-md-02843-VC-JSC
5     ___________________________
6     This document relates to:
7     ALL ACTIONS
8
      ____________________________
9
10
11
12
13
14
15                 DEPOSITION OF MICHAEL FAHEY, taken on
16    behalf of the Plaintiffs, with the deponent located
17    in Steamboat Springs, Colorado, commencing at
18    10:19 a.m., Thursday, July 21, 2022, remotely
19    reported via Video & Web videoconference before
20    REBECCA L. ROMANO, a Certified Shorthand Reporter,
21    Certified Court Reporter, Registered Professional
22    Reporter.
23
24
25

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1                          APPEARANCES OF COUNSEL
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25    /////

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1                          APPEARANCES OF COUNSEL
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1                     APPEARANCES OF COUNSEL(cont'd)
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22    ALSO PRESENT:
23           Francine Bendat, Associate General Counsel,
24    Meta Platforms
25           John Macdonell, Videographer

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1                                 I N D E X
2     DEPONENT                                             EXAMINATION
3     MICHAEL FAHEY                                                 PAGE
      VOLUME 1
4
5                               BY MR. GOULD                              12
6
7
8                             E X H I B I T S
9     NUMBER                                                        PAGE
10                              DESCRIPTION
11    Exhibit 619      Native Excel Spreadsheet,                          19
12                     FB-CA-MDL-03959476;
13
14    Exhibit 620      Native Excel Spreadsheet,                          25
15                     FB-CA-MDL-03959477;
16
17    Exhibit 621      Native Excel Spreadsheet,                          45
18                     FB-CA-MDL-03962689;
19
20    Exhibit 622      Native Excel Spreadsheet,                          56
21                     FB-CA-MDL-03962690;
22
23    Exhibit 623      Native Excel Spreadsheet                           61
24                     FB-CA-MDL-03962691;
25    /////

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1                       E X H I B I T S(cont'd)
2     NUMBER                                                        PAGE
3                               DESCRIPTION
4     Exhibit 624      Native Excel Spreadsheet                           63
5                      FB-CA-MDL-03970356;
6
7     Exhibit 625      Native Excel Spreadsheet,                          67
8                      FB-CA-MDL-03962693;
9
10    Exhibit 626      Native Excel Spreadsheet,                          70
11                     FB-CA-MDL-03962694;
12
13    Exhibit 627      Native Excel Spreadsheet,                          73
14                     FB-CA-MDL-03962695;
15
16
17                     PREVIOUSLY MARKED EXHIBITS
18    NUMBER                                                        PAGE
19    Exhibit 330                                                         13
20
21
22
23
24
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1                 Steamboat Springs, Colorado;                  09:04:04

2                      Thursday, July 21, 2022

3                             10:19 a.m.

4                             ---o0o---

5

6                THE VIDEOGRAPHER:     Okay.    We're on the

7     record.   It's 10:19 a.m. Mountain Time on

8     July 21st, 2022.

9                This is the deposition of Michael Fahey.

10    We're here in the matter of Facebook Consumer             10:19:39

11    Privacy User Profile Litigation.

12               I'm John Macdonell, the videographer,

13    with Veritext.

14               Before the reporter swears the witness,

15    would counsel please identify themselves, beginning       10:19:51

16    with the noticing attorney, please.

17               MR. GOULD:     For the plaintiffs and the

18    proposed class, Benjamin Gould with

19    Keller Rohrback.

20               And with me today is Chris Springer, also      10:20:03

21    of Keller Rohrback.

22               MR. SCHWING:     Austin Schwing,

23    Gibson, Dunn & Crutcher for the defendant.

24               I am joined by Cassarah Chu,

25    Kelly Herbert, Shaquille Grant, Rose Ring.                10:20:23

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1     Francine Bendat, who is with Meta.                          10:20:26

2     Michael McQueeney, Felisha Miles.

3               I also note that there's a video one and

4     a video two showing on our screen.        Is -- that's

5     related to the court reporter?                              10:20:40

6               THE VIDEOGRAPHER:        That -- that's me, the

7     videographer.

8               MR. SCHWING:     Okay.

9               THE VIDEOGRAPHER:        Just capturing

10    devices, yeah.                                              10:20:45

11              MR. SCHWING:     Okay.     Thank you.

12              SPECIAL MASTER GARRIE:        And

13    Special Master Garrie here on behalf of the Court.

14              THE COURT REPORTER:        At this time, I will

15    ask counsel to agree on the record that there is no         10:20:54

16    objection to this deposition officer administering

17    a binding oath to the deponent via remote

18    videoconference, starting with the noticing

19    attorney, please.

20              MR. GOULD:     No objection.                      10:21:11

21              MR. SCHWING:     No objection.

22              THE COURT REPORTER:        Mr. Fahey, If you

23    could raise your right hand for me, please.

24              THE DEPONENT:     (Complies.)

25              THE COURT REPORTER:        You do solemnly        10:21:14

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1     state, under penalty of perjury, that the testimony       10:21:14

2     you are about to give in this deposition shall be

3     the truth, the whole truth and nothing but the

4     truth?

5               THE DEPONENT:   I do.                           10:21:14

6

7

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10                                                              10:21:14

11

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20                                                              10:21:14

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23

24

25    /////                                                     10:21:14

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1                           MICHAEL FAHEY,                      10:21:32

2     having been administered an oath, was examined and

3     testified as follows:

4

5                            EXAMINATION                        10:21:32

6     BY MR. GOULD:

7          Q.   Good morning, Mr. Fahey.

8               My name is Benjamin Gould, and I'll be

9     taking your deposition today.        Try to get through

10    this as quickly as possible.                              10:21:44

11              Just a few ground rules.        You know it's

12    important that we not talk over each so we have a

13    clean record.   If you don't understand a question,

14    please let me know.

15              I will probably be asking you -- and            10:21:58

16    this -- I told other witnesses this in this case --

17    you know, at times I'll be asking you like what

18    seem like insanely stupid questions.

19              But I don't mean that to like insult your

20    intelligence.   This is sort of just what we have to      10:22:14

21    do in the law to -- to -- to establish facts and --

22    and things like that.

23              So I wanted you to be prepared for that

24    just so you don't feel like insulted or surprised,

25    or whatever.                                              10:22:28

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1               I wanted -- now I think we should start         10:22:28

2     with previously marked Exhibit 330.

3          Q.   (By Mr. Gould)    If you could call that up

4     on your Exhibit Share screen, Mr. Fahey, and go to

5     the very bottom, when you're there, of page 14.           10:22:43

6               Let me know when you're there.

7          A.   I'm there.

8          Q.   Okay.   So topic 9a reads "Video content

9     and information relating to video content,

10    requested or obtained, available to or accessed,          10:23:04

11    interacted with, or shared by users on or via the"

12    platform -- "Facebook Platform, specifically:

13    A. The amount of such content and how the amount of

14    such content has changed or varied over time."

15              You understand that you are testifying on       10:23:24

16    behalf of Facebook about subtopic a, the -- the --

17    the words that are right next to that -- to that

18    little a there, yes?

19         A.   Yes, I do.

20         Q.   Okay.   And is there any portion of that        10:23:37

21    subtopic that is unclear to you?

22         A.   No, I don't believe so.

23         Q.   Okay.   And so you're -- you realize

24    you're testifying on behalf of Facebook, yes?

25              You're not testifying in your individual        10:23:55

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1     capacity?                                                  10:23:57

2            A.     If by Facebook you mean Meta, yes, I do.

3            Q.     Thank you.   Thank you for the correction,

4     yes.

5                   And do you understand that your testimony    10:24:08

6     is intended here to cover the time period

7     January 1, 2007, to the present, unless we are

8     specifying some other range?

9            A.     Yes.

10           Q.     Okay.   Obviously, that is a long period     10:24:34

11    and a lot of -- has happened to the artist formally

12    known as Facebook, now Meta.        So I will try to be

13    as specific in my questioning as I can.           If I'm

14    not, I hope you will point out that the -- the time

15    period about which you are talking specifically.           10:24:57

16                  So what did you do to prepare for this

17    deposition?

18           A.     I spoke with a handful of people on the

19    topic.      I reviewed a set of press releases, and I

20    also looked at a set of charts.                            10:25:17

21           Q.     And were some of the people you spoke

22    with former or current Meta employees?

23           A.     I only spoke with current Meta employees.

24           Q.     Okay.   Would you -- would you mind,

25    because I'm going to -- I'm -- I'm going to slip           10:25:39

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1     otherwise.                                                       10:25:45

2                  Would you mind if we just referred to

3     Meta as Facebook for the purposes of this

4     deposition?

5          A.      I -- I have no issues with that.              The   10:25:52

6     only reason why I clarified is I have a role within

7     the company where my role is actually attached to

8     what is now called Facebook, and I did not want to

9     get that confused.

10         Q.      Do you mean what is now called Meta?                10:26:06

11         A.      Yeah.     So there's the company which is

12    Meta --

13         Q.      Got it.

14         A.      -- and then within the company is

15    Facebook.     And because the business unit I am                 10:26:13

16    within is Facebook, I did not want there to be

17    confusion at a future point in time.

18         Q.      Okay.     Great.

19                 Like I said, I will just refer to

20    everything that's under the umbrella of Meta as                  10:26:30

21    Facebook, unless I tell you otherwise.

22                 Who -- excuse me -- which current

23    employees of Facebook did you speak with?

24         A.      I spoke with a gentleman named

25    Cayman Simpson.        Another gentle- -- gentleman named        10:26:53

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1     Yondy Kang.    I spoke with Amanda Yin.        Fan Wu.    10:26:57

2     Shweta Metkar (phonetic).       And Maggie Gee.

3          Q.     And you're aware we provided documents to

4     your counsel at Gibson Dunn in advance of this

5     deposition?                                               10:27:18

6          A.     Yes, I'm aware.

7          Q.     And did you -- did you personally review

8     any of those documents in -- in advance of this

9     deposition?

10         A.     Yes.                                          10:27:28

11         Q.     Okay.   Do you remember which ones?

12         A.     I do not.   I -- I scanned through all of

13    them and really reviewed them to make sure that

14    they related to the topic at hand.

15         Q.     Okay.   We can probably move on here.         10:27:42

16                What is your current position at

17    Facebook?

18         A.     I support data engineering for Facebook

19    application within -- within Facebook.

20         Q.     And what is data engineering?                 10:28:08

21         A.     Data engineering is the team responsible

22    for measuring what happens on the application and

23    taking that measurement and putting it into systems

24    for the purpose of product analytics.

25         Q.     How long have you been in that position?      10:28:32

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1             A.   Four and a half years.                       10:28:36

2             Q.   Wow.    Okay.

3                  And before that were you in any position

4     related to the measuring of what goes on, on the

5     Facebook Platform?                                        10:28:52

6             A.   No.

7             Q.   Okay.    What was your -- let's just start

8     here.

9                  What was your immediately prior position

10    to the position you have now?                             10:29:00

11            A.   The immediately prior position was data

12    engineering also.       But supporting the sales and

13    marketing team --

14            Q.   Okay.

15            A.   -- at Facebook.                              10:29:12

16            Q.   And what were like the approximate dates

17    that you held that position?

18            A.   Approximately October 2014 to -- I'm

19    going to get the math wrong here -- January of

20    200- -- I'm going to say 2018, but I often get it         10:29:35

21    confused.     It's either 2018 or 2017.

22            Q.   You have had, though, a position within

23    data engineering at Facebook since 2014, yes?

24            A.   That's correct.

25            Q.   Okay.    And then before the position that   10:29:47

                                                                  Page 17

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1     we just spoke about, that you started in 2014, what               10:29:51

2     position did you hold before that?

3          A.   I was a principal in a consulting firm.

4               MR. GOULD:     Okay.     Fabulous.     Okay.

5     Thanks.                                                           10:30:05

6               Okay.   Chris, let's go to Bates

7     number -9476.

8               MR. SPRINGER:     One moment, please.

9               MR. GOULD:     Of course.

10              MR. SCHWING:     Mr. Fahey, I'll let you in             10:30:32

11    on a tip for the document share --

12              THE DEPONENT:     Yes.

13              MR. SCHWING:     -- which is, a lot of times

14    the documents, when they get loaded, they don't

15    immediately show up.     And so if you click the                  10:30:45

16    refresh button within your browser, sometimes the

17    documents will -- will appear.

18              THE DEPONENT:     Gotcha.     Okay.     I'm

19    still -- at this point, I'm still waiting.              I still

20    just see Exhibit 330.                                             10:30:58

21              MR. GOULD:     Yeah, me, too.        I think

22    Mr. Springer will let us know.

23              And, Mr. Springer, again, when you have

24    time -- I know you're uploading one document now --

25    if you could also upload Bates number -9477, that                 10:31:15

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1     would be great.                                               10:31:26

2                  (Exhibit 619 was marked for

3     identification by the court reporter and is

4     attached hereto.)

5                  MR. SPRINGER:     Got it.                        10:31:31

6                  The first document has been introduced as

7     Exhibit 619.

8          Q.      (By Mr. Gould)       Okay.   So that should be

9     showing up, and let me know when it's up for you,

10    Mr. Fahey.                                                    10:31:46

11         A.      I have it up.

12         Q.      Okay.    Fabulous.

13                 And did you review this document in

14    advance of this deposition?

15         A.      I did.                                           10:31:52

16         Q.      Okay.    Let -- let me just ask you a

17    couple of preliminary questions just so -- because

18    I don't want to waste your or anyone's time.

19                 Are you prepared today to testify about

20    what drove changes in these numbers?                          10:32:05

21                 MR. SCHWING:     Object to form.

22                 THE DEPONENT:     When you say "drove

23    changes," I -- I wouldn't necessarily know exactly

24    what you mean there.        Could you --

25         Q.      (By Mr. Gould)       Sure.   Of course.          10:32:29

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1          A.   -- be a little bit more specific.                    10:32:31

2          Q.   Fair to say that a lot of the numbers

3     we're going to be talking about today, numbers that

4     you reviewed in advance of this deposition, went up

5     and down, yes?                                                 10:32:42

6          A.   Yes, the numbers changed.

7          Q.   Those are the kinds of changes I am

8     talking about.

9               And by "drive," I just am talking about

10    what caused them to go up and down.                            10:32:55

11              Does that clarify sufficiently for you

12    what I'm talking about?

13              MR. SCHWING:       Object to form.

14         Q.   (By Mr. Gould)       All I'm asking is whether

15    you understand what I mean.       That's all.                  10:33:08

16         A.   I understand what you mean by drive, yes.

17         Q.   Okay.     Great.

18              So -- and, again, this is so that we're

19    not wasting time.

20              Are you prepared today to testify about              10:33:21

21    what drove changes in the numbers we're going to be

22    talking about today?

23              MR. SCHWING:       Object to form.

24              THE DEPONENT:       I feel comfortable talking

25    about the numbers as they're presented.           My area of   10:33:37

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1     expertise is not product strategy or -- or anything       10:33:42

2     else --

3          Q.   (By Mr. Gould)     Okay.

4          A.   -- that might -- might have had -- had an

5     impact on how the numbers changed.                        10:33:52

6               MR. GOULD:     That is super helpful.

7     That's great.

8               I just wanted to say, for the record,

9     that -- that Mr. -- Mr. Schwing, we'll expect that

10    the -- the witness designated to testify on               10:34:01

11    subtopic c will be able to testify on what drove

12    changes in the numbers.

13         Q.   (By Mr. Gould)     I want to direct your

14    attention, Mr. Fahey, again to the -- to the

15    spreadsheet that's open here.                             10:34:18

16              Are -- are you prepared to testify about

17    the resources that Facebook devotes to keeping

18    track of this data?

19              MR. SCHWING:     Object to form.

20              THE DEPONENT:     Again, what I -- what I       10:34:46

21    prepared for was to talk about the numbers.

22         Q.   (By Mr. Gould)     In other words, you're

23    prepared -- oh, sorry.     Go ahead.

24         A.   No, please, go ahead.

25         Q.   In other words, you're prepared to talk         10:34:58

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1     about the numbers themselves?                               10:34:59

2          A.   Correct.

3          Q.   And not the resources that Facebook

4     devotes to keeping track of those numbers?

5               MR. SCHWING:     Object -- object to form.        10:35:14

6               THE DEPONENT:     I think when you say

7     resources to keep track of, I think that's --

8     that's a very broad topic and --

9          Q.   (By Mr. Gould)     Sure.

10         A.   -- I would not be the person to talk to           10:35:27

11    about the resources because I just wouldn't be able

12    to speculate or guess.

13              MR. GOULD:     Great.   Okay.    Super helpful.

14              Again, Mr. Schwing, just for the record,

15    I will expect that the witness designated to                10:35:40

16    testify on subtopic c will be prepared to testify

17    about -- about that.

18              MR. SCHWING:     Well, let -- let me pause

19    here to -- if we could, to just make sure that we

20    have some clarity.                                          10:35:53

21              I think the Special Master indicated

22    earlier it's helpful if we talk about, you know,

23    which -- which witness will cover what.

24              Mr. Fahey, I believe, can speak to,

25    you know, the -- the -- the infrastructure that's           10:36:04

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1     used to store the -- you know, and -- and track            10:36:08

2     this information.

3               And, you know -- you know, what -- what

4     the tables are or where it's -- where the things

5     are stored, and I think perhaps what you were              10:36:21

6     asking related to that.     So Mr. Fahey would be the

7     right person to ask --

8               MR. GOULD:     Fabulous.

9               MR. SCHWING:     -- that question.

10              MR. GOULD:     Thank you, Mr. Schwing.           10:36:32

11              MR. SCHWING:     I -- I think there may have

12    been just some confusion about what -- what it is

13    you were after.

14         Q.   (By Mr. Gould)     Okay.    Again, let's --

15    let's go back to this -- to this spreadsheet here.         10:36:39

16              Fair to say that this spreadsheet --

17              MR. GOULD:     Mr. Springer, can you remind

18    me what the exhibit number for this is.

19              MR. SPRINGER:     619.

20         Q.   (By Mr. Gould)     Okay.    I'll just refer to   10:37:01

21    it as Exhibit 619, Mr. Fahey.

22              Exhibit 619 -- it has two columns, yes?

23         A.   Yes.

24         Q.   One appears to be for years, correct?

25         A.   Yes.                                             10:37:16

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1          Q.   And then the second column is titled            10:37:16

2     "video_sends," correct?

3          A.   Correct.

4          Q.   Okay.   And the information in the

5     "video_sends" column, what is that information?           10:37:26

6          A.   That represents the total number of

7     videos directly uploaded to Messenger and -- by a

8     uploader in aggregate for the given year.

9          Q.   And correct me if I'm wrong here, but

10    Messenger is Facebook's direct messaging app; is          10:37:57

11    that correct?

12         A.   Messenger is a messaging app within --

13    within Meta -- within Facebook, and it can be used

14    for direct messaging.

15         Q.   So what I'm wondering is whether these --       10:38:24

16    well, let me step back.

17              It's possible, I assume, to upload videos

18    to the Facebook Platform other than using

19    Messenger; is that correct?

20         A.   Yes.                                            10:38:49

21         Q.   So I presume then that the data shown in

22    the "video_sends" column in this exhibit does not

23    include videos uploaded other than via the

24    Facebook Messenger app?

25         A.   This data is video uploaded via the             10:39:14

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1     Facebook Messenger app only.                                  10:39:18

2          Q.      In -- only.

3          A.      Right.

4          Q.      Okay.     Great.

5                  And does this include videos uploaded by         10:39:26

6     all Facebook users, both in the US and the rest of

7     the world?

8          A.      This is 619, -9476 -- this is a US-only

9     subset.

10         Q.      Right.     Right.     I should have directed     10:39:49

11    your attention to the metadata there because that's

12    how I read the title of the -- of the -- of the

13    file, yes.

14                 Okay.     Great.

15         A.      No.     That's quite all right.                  10:39:59

16                 MR. GOULD:     Let's go on to the next

17    exhibit, which I presume is marked 620.

18                 (Exhibit 620 was marked for

19    identification by the court reporter and is

20    attached hereto.)                                             10:40:05

21                 MR. GOULD:     Let me see here.       Yeah.

22         Q.      (By Mr. Gould)        And let me know when you

23    have that up.

24         A.      It's up right now, yes.

25         Q.      Fabulous.     Okay.                              10:40:24

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1                  This document, Exhibit 620, did you          10:40:30

2     review it in preparation for this deposition?

3          A.      Yes, I did.

4          Q.      And just to clarify, both this exhibit

5     and the previous exhibit, these were prepared by          10:40:39

6     Facebook employees.

7                  They were -- these documents were created

8     by Facebook employees, I assume?

9          A.      I was not directly involved in the

10    creation of the documents.       So I would only be       10:40:55

11    speculating as to who -- who created them or how

12    they were created.

13         Q.      They were created, though, by somebody at

14    Facebook, yes?

15         A.      They would have to have been, yes.           10:41:07

16         Q.      Okay.   Fabulous.

17                 Any reason to think that the data in

18    these spreadsheets is -- doesn't reflect the actual

19    data that Facebook has?

20         A.      No.                                          10:41:21

21         Q.      Okay.   Fabulous.   That's what I'm

22    wondering.

23                 So again, in this exhibit, there appears

24    to be two columns, correct?

25         A.      Correct.                                     10:41:34

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1          Q.     Column A is for years, correct?               10:41:35

2          A.     Correct.

3          Q.     Column B is for "video_sends," correct?

4          A.     "Video_sends," the way we described it

5     for the prior exhibit, yes.                               10:41:49

6          Q.     Right.     So it represents the same thing

7     but for Facebook users in the rest of the world?

8          A.     My understanding is this file is Facebook

9     users worldwide.       Therefore, it would actually

10    encompass the US.                                         10:42:07

11         Q.     Got it.

12                And what are the criteria that Facebook

13    uses to determine, for purposes of this

14    spreadsheet, whether somebody is a US user?

15         A.     That's an excellent question.                 10:42:28

16                There's a number of factors that go in,

17    the most important of which are going to be your IT

18    address and your self-disclosed location.

19         Q.     And what if those two points of data

20    conflict?                                                 10:42:44

21         A.     I wouldn't be able to speak to the actual

22    algorithm that resolves to the predicted location.

23    But my understanding is, again, that it's -- it's

24    primarily those two characteristics.

25         Q.     And criteria for a user that's outside        10:43:00

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1     the US, again, I presume it would be based                10:43:06

2     principally on IP address and disclosed geographic

3     location?

4          A.     That is correct.

5          Q.     Okay.   And do you feel comfortable saying    10:43:20

6     that the algorithm results in an accurate portrayal

7     of whether a given Facebook user is a US user?

8                 MR. SCHWING:     Object to form.

9                 THE DEPONENT:     That's actually not my

10    area of expertise.     So -- so I wouldn't -- I           10:43:49

11    wouldn't be comfortable, you know, really

12    speculating in that area at all.

13         Q.     (By Mr. Gould)     Who at Facebook do you

14    think would know that question -- the answer to

15    that question?                                            10:44:02

16         A.     I honestly would not know.

17         Q.     Okay.   Are you familiar with how these

18    documents -- well, excuse me.

19                Are you familiar with the general process

20    for how these documents, this spreadsheet and the         10:44:26

21    previous one were created?

22         A.     I am.

23         Q.     And how -- can you describe that process

24    for me.

25                                                              10:44:43

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1




                                                               10:46:47

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1                                                               10:46:49

2          Q.     And can you describe the reasonability

3     criteria for me?

4          A.     So when I said "reasonability," maybe

5     that's a bit of a colloquialism or -- but a simple        10:47:05

6     example might be that if you look at a video and

7     you say that the duration of a video is, say, three

8     years long, that's -- would not probably be

9     reasonable from a average person's standpoint.

10                And so you would say, okay, that might be     10:47:35

11    the number, but that's not a reasonable number.

12    And so you would need to then address that or call

13    that out.

14         Q.     Fair to say then by -- that by

15    reasonability, you sort of mean vetting these             10:47:49

16    numbers against common sense; is that a fair

17    description?

18                MR. SCHWING:     Object to form.

19                THE DEPONENT:     Yeah.   Again, I -- I --

20    I'd hesitate to put a label on it and that's why          10:48:05

21    I -- you know, maybe using casual language here is

22    problematic.    I would just go back to the way I

23    explained it.     I don't know that I'd be comfortable

24    summarizing it.

25         Q.     (By Mr. Gould)     And here I'm just trying   10:48:23

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1     to make sure I understand.                                   10:48:25

2               Is -- is a fair description of it, this

3     process, just a process by which certain numbers

4     are analyzed for whether they seem to be

5     reasonable, given the surrounding circumstances?             10:48:53

6          A.   The -- the purpose of the process is to

7     be able to produce a number that is typically only

8     ever used internally and to produce it in a way

9     that it can be shared externally.

10         Q.   And does Facebook rely on the numbers              10:49:24

11    produced through this process to make decisions?

12              MR. SCHWING:     It's vague.

13              THE DEPONENT:     Would you maybe --

14         Q.   (By Mr. Gould)     Sure.

15         A.   Yeah.                                              10:49:44

16         Q.   Here's another way of asking it.             I'm

17    sorry.

18              Would you characterize the numbers that

19    are produced through this process as reliable?

20              MR. SCHWING:     Object to form.                   10:49:55

21              THE DEPONENT:     I would -- I would

22    characterize these numbers as the numbers that we

23    produced from our internal systems and counts of

24    what we have in terms of "video_sends."

25         Q.   (By Mr. Gould)     And is the purpose of           10:50:19

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1     that process to produce -- is a purpose of that           10:50:22

2     process to produce numbers that can be relied upon

3     by whomever Facebook is disclosing them to?

4               MR. SCHWING:     Vague.

5               THE DEPONENT:     So I'm getting stuck on       10:50:54

6     the word "relied upon" -- or the phrase "relied

7     upon."

8               Maybe you could give me a more

9     specific --

10         Q.   (By Mr. Gould)     Sure.                        10:51:04

11         A.   -- with what would be Meta.

12         Q.   In Facebook's day-to-day business,

13    insofar as it consults the kind of numbers we'll be

14    talking about today -- and by "we'll be talking

15    about today," I mean the numbers on the                   10:51:21

16    spreadsheets that you reviewed in advance of this

17    deposition.

18              In its day-to-day business, when Facebook

19    is reviewing those sorts of numbers, is it the case

20    that Facebook generally treats those numbers as           10:51:41

21    accurately reflective of reality?

22              MR. SCHWING:     Object to form.

23              THE DEPONENT:     I think I understand what

24    you're saying.

25              If -- "accurately reflective of reality,"       10:52:08

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1     do you mean do we look at those numbers with the          10:52:17

2     idea that they reflect counts within the -- within

3     the application?

4          Q.     (By Mr. Gould)    Accurately reflect

5     counts, yes.                                              10:52:32

6          A.     I'm sorry.   What was the word right

7     before --

8          Q.     Accurately reflect counts?

9          A.     Yeah, I understand.

10                Okay.   So I think we're -- when you say      10:52:39

11    "accurate" or "reliable," the hesitation you get in

12    my voice is that with these types of numbers and

13    with the system that we -- we work on, those

14    numbers can change over time, such that "accurate"

15    is based on where you are at a point in time.             10:53:09

16                And so I'm -- I hesitate to say -- use

17    the phrase "accurate" in -- in some sort of

18    definitive way.

19         Q.     How do -- how do the numbers -- by

20    "numbers changing over time," what do you mean?           10:53:24

21         A.     So if you imagine that I were counting

22    "video_sends" at a global level, and what I might

23    have today is five sends.      And there were a set of

24    sends made in some other place in the world and

25    there's five more out there, but those don't get to       10:54:04

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1     me until tomorrow, So as of today, if you asked me        10:54:07

2     how many "video_sends" there were, I would say

3     there was five.     If you asked me in about 24 hours,

4     I might say that there were more.

5          Q.   I see.                                          10:54:24

6               Then perhaps a better way of answering my

7     question then would be to say -- or to ask you, the

8     numbers we're talking -- we're going to be talking

9     about today -- and, again, I mean by "numbers," the

10    numbers you reviewed in advance of this                   10:54:42

11    deposition -- would you say that it's fair to say

12    that -- that those numbers reflect the -- the best

13    picture of what is actually going on, on the

14    Facebook Platform, that Facebook can produce at the

15    time it actually produces those numbers?                  10:55:07

16              MR. SCHWING:     Object to form.

17              THE DEPONENT:     There are probably more

18    caveats that I would add to -- to what you just

19    said, but I think that the way you caveated the --

20    caveated the -- the idea, I think you have the --         10:55:31

21    the general idea.

22         Q.   (By Mr. Gould)     Forgive me --

23         A.   For sure.

24         Q.   -- but what are the caveats you would add

25    to what I just said?                                      10:55:42

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1          A.   So I would qualify the word "best."          I   10:55:49

2     would qualify the word "available," right.

3               We have a system that we pull these

4     numbers from to produce these numbers.        The system

5     and the people that are going through the process          10:56:11

6     of gen- -- generating these numbers, there can be

7     any number of factors that can affect the number

8     when it's -- when it's pulled.

9               That said, it -- it is the number we're

10    able to pull at the time we -- we go to make --            10:56:30

11    we make -- we make the pull.

12         Q.   Would you say that when Facebook produces

13    these numbers, Facebook is trying to produce the

14    best practicable picture of what is actually going

15    on at the Facebook -- on the Facebook Platform at          10:57:11

16    the time these numbers are produced?

17              MR. SCHWING:     Vague.

18              THE DEPONENT:     I would say the

19    number we're -- the numbers we're looking at are

20    the numbers we were able to produce using the              10:57:32

21    process I described at the time that we went to

22    produce the numbers.

23         Q.   (By Mr. Gould)     And would you

24    characterize that process as a careful one?

25         A.   I don't know that I would again get into,        10:57:56

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1     you know, a word like -- like "careful" or not.            10:58:01

2     I -- I'm not sure what you mean there.

3          Q.      Okay.    Well, here, let me look up the

4     definition of "careful."

5                  Okay.    By "careful," in this context, I     10:58:39

6     mean characterized by an effort to avoid errors or

7     omissions.

8                  Okay?

9          A.      (Deponent nods head.)

10         Q.      Okay.    Under that definition of careful,    10:58:52

11    would you characterize the process that Facebook

12    uses to produce these numbers as careful?

13         A.      I would characterize the process as

14    absolutely having an effort to avoid errors and

15    omissions.                                                 10:59:14

16         Q.      Great.

17                 And I will use the term -- and I don't

18    know if it's the correct technical term.           But I

19    will use the term "raw data" to mean the data on

20    which these produced numbers are based.                    10:59:33

21                 Do you at least understand sort of what

22    I'm getting at by that term?

23         A.      I do.

24         Q.      Okay.    Fabulous.

25                 Would you say that when Facebook produces     10:59:53

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1     these numbers, it does so from a set of raw data          11:00:03

2     that it selects in such a way as to minimize errors

3     and omissions?

4                  MR. SCHWING:     Object to form.

5                  THE DEPONENT:     So I think what you're     11:00:30

6     asking me is, what is the system or the process

7     that --

8            Q.    (By Mr. Gould)     Let's start there.

9            A.    -- that's taking place?

10           Q.    Let's start there.                           11:00:42

11           A.    So there is a process to put the raw data

12    in a place where it can then be analyzed or

13    aggregated.     And then there is a second process

14    that then builds a number like this that we're

15    looking at here today off of that raw data.               11:01:09

16           Q.    Okay.   And so it sounds to me like there

17    are essentially two parts to the -- to the raw data

18    that goes into these numbers.

19                 One is the collection -- the first part

20    is the collection and storage of that raw data,           11:01:41

21    yes?

22           A.    Yes.

23           Q.    And then the second is the retrieval and

24    use of that raw data to produce these numbers; is

25    that fair?                                                11:01:54

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1          A.      Yes, it's fair.                              11:01:56

2          Q.      Okay.   Would you say that in Facebook's

3     collection and storage of the raw data, it makes an

4     effort to avoid errors and omissions?

5          A.      Yes.                                         11:02:14

6          Q.      And would you say that in the retrieval

7     and use of that raw data, it makes an effort to

8     avoid errors and omissions?

9          A.      Yes.

10         Q.      Okay.   Would you say, as a general          11:02:27

11    matter, that in the production of numbers of the

12    kind we're going to be talking about today, it is

13    important to Facebook to avoid errors and

14    omissions?

15                 MR. SCHWING:     Objection.    Vague.        11:02:52

16                 THE DEPONENT:     I will say that it was

17    important, as I was going through these documents,

18    to ensure that if there were errors or omissions,

19    that I understood what those would be.

20         Q.      (By Mr. Gould)     Okay.    What potential   11:03:25

21    errors and omissions might characterize the two

22    spreadsheets we've seen today already?

23                 MR. SCHWING:     Objection.    Vague.

24                 I -- I don't want to -- it's -- it's

25    compound, Ben.                                            11:03:54

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1                     Do you want to take them like one at a         11:03:56

2     time?        I just -- I want to make sure he can answer.

3                     MR. GOULD:    Okay.

4             Q.      (By Mr. Gould)      What errors or omissions

5     might numbers that purport to show "video_sends"               11:04:07

6     suffer from, Mr. Fahey?

7             A.      So we're looking at -9477 now, correct,

8     620; is that right?

9             Q.      Yeah.   Let's start there.

10            A.      Based on my review, I -- I wouldn't be         11:04:32

11    able to speak to any errors or omissions that I

12    would be able to discern.

13            Q.      Fair to say that you have carefully

14    reviewed these numbers and you are not able to

15    discern any errors and omissions in them?                      11:04:47

16            A.      Correct.

17            Q.      Okay.   Fabulous.

18                    Let's go back -- I believe we were just

19    talking about Exhibit 620, yes?

20            A.      I think so.                                    11:05:01

21            Q.      Okay.   Let's go back to 619.

22            A.      Okay.

23            Q.      You carefully reviewed those numbers,

24    correct?

25            A.      Yes.                                           11:05:11

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1             Q.   And were you able to discern any errors               11:05:11

2     and omissions therein?

3             A.   I was not.

4                  MR. GOULD:     Chris, I would like you to

5     upload a whole bunch of files here.           Let's start          11:05:26

6     with -2689.

7                  MR. SPRINGER:     Okay.

8                  MR. GOULD:     And do you see where -- where

9     I am, Chris?

10                 MR. SPRINGER:     Yes.                                11:05:46

11                 MR. SCHWING:     Ben- --

12                 MR. GOULD:     So I want you to -- to --

13    to --

14                 MR. SCHWING:     Ben- -- Benjamin, can I

15    interrupt you for just -- I'm sorry -- for just one                11:05:50

16    second.

17                 While you're loading up a bunch of stuff,

18    can we just take like a three-minute break.               I have

19    to let a contractor into my backyard --

20                 MR. GOULD:     Yeah, absolutely.                      11:05:57

21                 MR. SCHWING:     Just five -- maybe five

22    minutes and we can -- we'll break away and then

23    we'll --

24                 MR. GOULD:     Yeah.     That would actually be

25    helpful.     Thank you.                                            11:06:03

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1                  MR. SCHWING:     Sorry -- sorry about that.    11:06:05

2     Thank you.     Appreciate it.

3                  Let's go to the breakout room.

4                  THE VIDEOGRAPHER:     Okay.    We're off the

5     record.    It's 11:06 a.m.                                  11:06:09

6                  (Recess taken.)

7                  THE VIDEOGRAPHER:     We're back on the

8     record.    It's 11:13 a.m.

9          Q.      (By Mr. Gould)     Let me go back briefly to

10    the two spreadsheets we have talked about earlier           11:13:50

11    in this deposition, Exhibits 619 and 620.

12                 They both showed -- they both had a

13    column for a data point titled "video_sends,"

14    correct?

15         A.      Correct.                                       11:14:14

16         Q.      And those refer to videos uploaded via

17    Facebook Messenger, correct?

18         A.      Correct.

19         Q.      If I am a Facebook user and I upload a

20    video I took of my kids to my Facebook profile, I'm         11:14:24

21    not uploading it via Facebook Messenger, am I?

22         A.      No, you're uploading it via Facebook.

23         Q.      Okay.   If I am live streaming playing

24    Call of Duty, I'm not doing that using Facebook

25    Messenger, am I?                                            11:14:51

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1          A.    No.                                             11:14:56

2          Q.    Okay.     If I'm an advertiser and I

3     advertise using video, that video isn't uploaded

4     via Facebook Messenger, is it?

5          A.    No.                                             11:15:15

6          Q.    Okay.     All right.   I have -- I have a

7     whole bunch of other ones to go through.          But...

8                I'm actually just trying to get -- get my

9     head around like the proper nomenclature.

10               You said that if I'm a Facebook user and        11:15:36

11    I'm uploading a video to my profile, I'd be

12    uploading it via the Facebook Platform; is that

13    correct?

14         A.    That is the -- that is the verbiage that

15    I tend to use.                                             11:15:50

16         Q.    Okay.

17         A.    I think -- I -- I -- maybe to help you a

18    little bit.      We have Facebook as an application.

19    We also have Messenger as a separate application.

20    So if you think about it on your, say, phone or            11:16:02

21    your device, you're going to see two separate

22    applications.

23         Q.    Got it.

24         A.    So whatever you're uploading through,

25    you're in the Messenger application or you're in           11:16:12

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1     the Facebook application.                                     11:16:15

2          Q.   Got it.     I see.

3               And organizations or groups that have

4     Facebook pages, if they were to upload a video to

5     that page, they're not uploading it via                       11:16:25

6     Facebook Messenger, right?

7          A.   No.

8          Q.   They're uploading it via the

9     Facebook Platform?

10         A.   They have a few ways to upload.                     11:16:36

11         Q.   How -- what -- what are those ways?

12         A.   Creator Studio would be more than likely

13    the most prominent.     But there are also ways to

14    upload videos directly to your page without going

15    through Creator Studio.                                       11:16:53

16         Q.   Is Creator Studio another -- another

17    Facebook app?

18         A.   I would consider it part of the

19    Facebook Platform.     But when you get into app,

20    right, that's very much like a concept you would              11:17:15

21    see on a phone or an iPad, or whatever.            So it is

22    an aspect of the Facebook Platform, I think, is --

23    is a better way to think of it.

24         Q.   Got it.

25              Okay.     Again, I want to make sure that I         11:17:26

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1     get everything correct.                                    11:17:31

2                Can you think of -- so we've -- we've

3     spoken about uploading videos via

4     Facebook Messenger.     We've spoken about uploading

5     videos using the Facebook Platform, including by           11:17:45

6     this Creator Studio -- is that the correct -- or

7     studio creator?

8          A.    Creator Studio.

9          Q.    Creator Studio.         Okay.

10               Are there other ways to upload video that       11:17:58

11    you know of to Facebook?

12         A.    I'd be guessing, if I was going to

13    speculate beyond what I just said.

14         Q.    Okay.   Okay.     Fair.

15               We'll get to that with another designee.        11:18:10

16               And do you know how Facebook delivers

17    video ads on behalf of advertisers?

18               MR. SCHWING:      Object to scope.

19               THE DEPONENT:      So the -- really the topic

20    that I prepared for was the metrics and the                11:18:41

21    numbers.   So I don't -- I don't know that I could

22    get into any of that.

23               MR. GOULD:      Okay.     Okay.   We'll cover

24    that with -- planning on covering that just -- I

25    want to state, for the record, with another                11:18:50

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1     designee.                                                     11:18:54

2             Q.      (By Mr. Gould)     Okay.    So let's go to

3     Exhibit 621, Mr. Fahey.

4             A.      All right.

5             Q.      Let me know when you have that open.          11:19:06

6             A.      Yup.

7             Q.      Fabulous.

8                     So in the columns --

9                     MR. SCHWING:     Mr. Gould, just before you

10    get to the next question, you said "another                   11:19:11

11    designee."

12                    I just want to be clear we've identified

13    that advertising questions should be directed to

14    the advertising designees that we put forward as of

15    those two -- the two witnesses over the next couple           11:19:19

16    days.        But you and I can chat about that further.

17                    MR. GOULD:     I understand that to be your

18    concern.

19                    MR. SCHWING:     Okay.

20                    (Exhibit 621 was marked for                   11:19:27

21    identification by the court reporter and is

22    attached hereto.)

23            Q.      (By Mr. Gould)     So let -- so what --

24    let's see here.         This is 621.

25                    Okay.   This spreadsheet that's been          11:19:35

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1     marked as Exhibit 621, the -- I'm going to go             11:19:37

2     through the columns here, Mr. Fahey.

3                 The first column is for "year," correct?

4            A.   Correct.

5            Q.   The next one is for "video_state_type,"       11:19:51

6     correct?

7            A.   Correct.

8            Q.   And by "video_state_type," what is meant?

9            A.   So I think the -- maybe instead of saying

10    what's meant, I could describe the -- the values --       11:20:20

11           Q.   Sure.

12           A.   -- that are in the column.

13           Q.   What -- what are -- what is captured,

14    yes.

15           A.   Yeah.                                         11:20:29

16                So "all_video" would be all videos

17    uploaded to the platform for that year.

18                "Is_live_streaming" would be a video --

19    you had mentioned an example of if live

20    streaming -- I -- live streaming a -- a child's           11:20:48

21    basketball game or soccer game, or something like

22    that, right.    So when you're streaming that, it's

23    going to be counted as live streaming.       If you

24    choose to then save it, as the person who is

25    streaming, it switches from being                         11:21:09

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1     "is_live_streaming" to being "was_live_streaming."          11:21:11

2                And if you had actually just recorded

3     that entire video on your phone and then uploaded

4     it, that would be "vod."

5          Q.    Which stands for video on demand?                11:21:25

6          A.    Correct.

7          Q.    Okay.     That's super helpful.     Thank you.

8                The next column, column C, is for -- is

9     "country," correct?

10         A.    Correct.                                         11:21:40

11         Q.    And the two possibilities of values for

12    that are US and rest of world, correct?

13         A.    Correct.

14         Q.    And rest of world just means everybody

15    outside of the US?                                          11:21:51

16         A.    It means not US based on predicted

17    location, like we talked about earlier --

18         Q.    Got it.

19         A.    -- for the other sheet.

20         Q.    The next column is "watch_hours,"                11:22:02

21    correct?

22         A.    Correct.

23         Q.    Okay.     And what does that capture?

24         A.    That captures for all videos -- let's

25    just use that as an example.       That captures for a      11:22:24

                                                                   Page 47

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1     given year or a given video state for a given                    11:22:26

2     country, total number of hours spent by people

3     watching videos in that scene.

4          Q.   So it does not capture the duration of

5     the video, correct?                                              11:22:53

6          A.   That's correct.

7          Q.   Rather, it captures the aggregate amount

8     of time that users that watch the video watch the

9     video?

10         A.   Correct.                                               11:23:09

11         Q.   Okay.     Does this include videos available

12    only through third-party apps?

13              MR. SCHWING:     Object to form.

14              THE DEPONENT:     I -- I would not be able

15    to speculate on anything related to -- to                        11:23:30

16    third-party apps.

17              This is all videos that we have.

18         Q.   (By Mr. Gould)     And by "all videos that

19    we have," what do you mean?

20         A.   Facebook.                                              11:23:48

21         Q.   And so --

22         A.   Facebook Platform, Facebook app.             So this

23    is "watch_hours" spent watching video on Facebook.

24         Q.   If I'm a Facebook user, I have a -- and I

25    have, say, a Hulu app that is integrated into                    11:24:01

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1     Facebook, and I go and watch Modern Family on Hulu,       11:24:07

2     would that be captured by this metric?

3                MR. SCHWING:      Vague.

4                THE DEPONENT:      So you're asking me what

5     information about activity on Hulu would be               11:24:38

6     captured in this number?

7          Q.    (By Mr. Gould)      Right.

8          A.    That's not something I could -- I could

9     speak to because it's not really part of the

10    process.                                                  11:24:54

11         Q.    Got it.

12               So in other words, hours spent by

13    Facebook users watching videos on Hulu are not part

14    of the "watch_hours" captured here, right?

15         A.    Can you say that question again, please.       11:25:10

16         Q.    Sure.     Sure.   Be happy to.

17               Hours spent by Facebook users watching

18    videos on Hulu are not included in the

19    "watch_hours" captured here in this column; is that

20    correct?                                                  11:25:30

21         A.    These are "watch_hours" spent by Facebook

22    users watching video on Facebook.

23         Q.    And videos on Hulu are not on Facebook,

24    correct?

25         A.    That -- that gets into --                      11:25:51

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1             Q.   Let me ask it differently.        Sorry.     11:25:55

2                  If I'm watching a video on Facebook, I'm

3     not watching it on -- or excuse me.

4                  If I'm watching a video on Hulu, I'm not

5     watching it on Facebook, right?                           11:26:03

6             A.   Again, you're -- you're asking me to

7     speculate on how Hulu works, and I -- I just

8     couldn't speak to that.

9             Q.   Do you know who would be able to speak to

10    that?                                                     11:26:16

11            A.   Honestly --

12                 MR. SCHWING:     Sorry.   Just give me a

13    second.

14                 The question is vague.

15            Q.   (By Mr. Gould)     When I asked you "hours   11:26:41

16    spent by Facebook users watching videos on Hulu are

17    not included in the 'watch_hours' captured here in

18    the column; is that correct," you answered "These

19    are 'watch_hours' spent by Facebook users watching

20    video on Facebook."                                       11:26:54

21                 By "These are 'watch_hours' spent by

22    Facebook users watching video on Facebook," you

23    mean "watch_hours" spent by Facebook users watching

24    only video that is on Facebook, correct?

25            A.   I wouldn't be able to speculate if a         11:27:18

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1     video that is on Facebook is published by the             11:27:22

2     producer somewhere else.

3          Q.    Sure.

4                If video content -- let's say

5     video con- -- a particular piece of video content         11:27:43

6     is available both on Facebook and on another

7     platform, can you -- do -- do you understand

8     what I'm -- what I'm talking about there -- the

9     kind of situation I'm talking about there?

10               MR. SCHWING:     Vague.                        11:27:58

11         Q.    (By Mr. Gould)     Like, for example, this

12    is what I mean.     A video of the kids -- of a kid's

13    basketball game is both available on Facebook and

14    on YouTube.   That's -- the same video has been

15    uploaded to both platforms.      Let's -- let's say       11:28:14

16    that that is the case.

17               If a Facebook user goes to YouTube and

18    watches that video on YouTube, that would not be

19    captured in the "watch_hours" here, correct?

20         A.    Correct.                                       11:28:35

21         Q.    Okay.    Thank you.

22               Sorry.     I didn't mean to spend too much

23    time on that, but that's very helpful to me.

24               This captures years 2014 through 2019,

25    correct?                                                  11:28:54

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1          A.     Correct.                                        11:28:58

2          Q.     Is data for "watch_hours" available for

3     before 2014 or after 2019?

4                 MR. SCHWING:     Compound.

5                 THE DEPONENT:     I'm sorry.     Did somebody   11:29:14

6     say something?

7                 MR. SCHWING:     I said it's com- --

8     compound.

9          Q.     (By Mr. Gould)     Is data for "watch_hours"

10    available for before 2014?                                  11:29:21

11         A.     Again, I wasn't involved in how the --

12    the data was pulled.       So all I can speak to is the

13    data that's on the --

14         Q.     Okay.

15         A.     -- on -- in the spreadsheet.                    11:29:37

16         Q.     And so similarly, you don't know whether

17    data for "watch_hours" is available for after 2019,

18    correct?

19         A.     I wouldn't be able to speculate, no.

20         Q.     Okay.   Why does Facebook keep track of         11:29:54

21    "watch_hours"?

22                MR. SCHWING:     Scope.   Outside the scope.

23         Q.     (By Mr. Gould)     Let me step back then,

24    Mr. Fahey, because, again, I don't want to waste

25    anybody's time.                                             11:30:14

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1             A.   Sure.                                           11:30:15

2             Q.   You are not prepared to testify today

3     about why Facebook keeps track of the numbers we're

4     going to be talking about today, correct?

5                  MR. SCHWING:     Vague.                         11:30:27

6                  THE DEPONENT:     That is correct.        I'm

7     prepared to talk about the numbers themselves.

8                  MR. GOULD:     Great.     So, again, just for

9     the record, I'll be expecting your designee for

10    subtopic c to be able to talk about -- to talk               11:30:38

11    about that.

12            Q.   (By Mr. Gould)     So do you know whether

13    Facebook enables video content creators to keep

14    track of "watch_hours"?

15                 MR. SCHWING:     I -- I think -- let's pause    11:30:50

16    on that.

17                 I do think that the witness can generally

18    speak to the fact that -- you know, that there

19    are -- are metrics and that different kind of

20    general -- you know, kind of use cases, why things           11:30:59

21    are, you know, asked for.           But I think your

22    question was just -- I just want to be helpful,

23    Mr. Gould, in terms of kind of the -- the scope

24    here.

25                 MR. GOULD:     Okay.                            11:31:12

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1                  MR. SCHWING:     You know, specific -- like      11:31:13

2     it depends what you're asking exactly.           He -- he's

3     not going to know every metric ever pulled and --

4     and why and how it was used because it's a giant

5     business.     But I do think he can generally speak           11:31:21

6     to the -- the topic.        So I want to -- I want to

7     pause you there and let you explore that, if you'd

8     like to.

9          Q.      (By Mr. Gould)     Okay.    So does Facebook

10    enable video content creators to keep track --                11:31:36

11    track of "watch_hours"?

12         A.      We enable content creators, through

13    Creator Studio, to keep track of a set of metrics.

14    I don't know that it's called "watch_hours" in

15    there.     But there is -- there are metrics related          11:31:51

16    to watch time.

17         Q.      Okay.   And the way that Facebook produces

18    the numbers in the spreadsheet, it involves the

19    processes we talked about earlier on a broad level,

20    correct?                                                      11:32:24

21         A.      Correct.

22         Q.      So it involves the collection and storage

23    of raw data, correct?

24         A.      Correct.

25         Q.      Then the retrieval and analysis of that          11:32:36

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1     raw data, correct?                                            11:32:42

2          A.      Retrieval and calculation, yeah.

3          Q.      Okay.   And would you say that -- that in

4     Facebook's calculation of "watch_hours," it makes

5     an effort to avoid errors and omissions?                      11:33:01

6          A.      Yes.

7          Q.      And your review of the numbers in this

8     document, have you been able to discern any errors

9     or omissions?

10         A.      I was not.                                       11:33:17

11         Q.      Okay.   Fair to say that there's been a

12    significant increase in "watch_hours" both in the

13    US and in the rest of the world from 2014 to 2019?

14         A.      From 2014 to 2019 --

15         Q.      Yeah.                                            11:33:42

16         A.      -- I would -- watch hours has gone up.

17         Q.      Yeah.   Significantly?

18                 MR. SCHWING:     Objection.

19                 THE DEPONENT:     Yeah.     I -- I -- I

20    apologize.     I'm very much a numbers person so I'm          11:33:48

21    hesitant to use adverbs and adjectives.

22         Q.      (By Mr. Gould)     Sure.     Qualitative to

23    describe the quantitative?

24         A.      Yeah.

25                 MR. GOULD:     Got it.     Okay.   Let's go on   11:33:59

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1     to 622.                                                           11:34:00

2                  (Exhibit 622 was marked for

3     identification by the court reporter and is

4     attached hereto.)

5          Q.      (By Mr. Gould)       Okay.    And this is a          11:34:03

6     spreadsheet, correct?

7          A.      Yeah.     Bear with me with one second.

8          Q.      Oh, sure.       Of course.

9          A.      I got to put the password back in.             The

10    laptop locked up.                                                 11:34:18

11                 622.    Okay.     I have it up.

12         Q.      Got it.     Okay.

13                 You reviewed this spreadsheet in advance

14    of your deposition today, correct?

15         A.      Yes.                                                 11:34:50

16         Q.      Okay.     There are three columns, correct?

17         A.      Correct.

18         Q.      The first is for "year."

19         A.      Yup.

20         Q.      The second is labeled "total_duration."              11:34:57

21                 What does that data point capture?

22         A.      That is aggregated duration of videos and

23    hours.

24         Q.      And this includes all videos -- well,

25    excuse me.                                                        11:35:25

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1               What universe of videos is included in          11:35:26

2     this number?

3          A.   It is video on demand, published and

4     available as of midnight of the -- of the day that

5     we counted it.                                            11:35:42

6          Q.   So it doesn't include live stream video?

7          A.   Correct.   It's video on demand.

8          Q.   And it doesn't include videos that aren't

9     on the Facebook Platform, right?

10         A.   Correct.                                        11:35:58

11         Q.   Okay.   The next column is "total_videos."

12              What does that capture?

13         A.   The aggregate -- aggregate number of

14    videos published and available as of that night.

15         Q.   And, again, this is total number of             11:36:16

16    videos on demand only, correct?

17         A.   Correct.

18         Q.   On the Facebook Platform only, correct?

19         A.   Correct.   Correct.

20         Q.   Okay.   And the process that is used to         11:36:29

21    create this number -- these numbers, that is,

22    broadly speaking, the same as the process we spoke

23    about earlier, correct?

24         A.   Yes.

25         Q.   Okay.   And do you know whether data for        11:36:41

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1     total -- for "total_duration" and "total_videos" is                11:36:52

2     available for after 2019?

3             A.      I wouldn't be able to speak to -- to

4     that.        Again, I'm really only prepared to talk

5     about what's on the chart.                                         11:37:05

6             Q.      Sure.

7                     And do the numbers here include video on

8     demand uploaded by both US and rest of world users?

9             A.      Yes.    My understanding is this is

10    worldwide, not US only.                                            11:37:22

11            Q.      Okay.    Let's go on to -- this is 622.

12    Let's go on to 623.

13            A.      Before we move on -- you know, I just --

14    I wanted to flag something because you had asked me

15    about errors and omissions before.                                 11:37:41

16            Q.      Yeah.

17            A.      So if you look at 2016 --

18            Q.      Yes.

19            A.      -- you'll notice that "total_duration" as

20    a number is -- sticks out quite a bit.                             11:37:52

21            Q.      Yes.    Thank you.     Yes.   Thank you.    Yes.

22            A.      I just didn't want you to think I was

23    glossing over that.

24            Q.      No, Mr. Fahey.       Thank you.   Thank you for

25    pointing that out.                                                 11:38:08

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1          A.      In my -- in my review and prep for this,            11:38:09

2     we found a bug.

3          Q.      Okay.

4          A.      And the bug was in how the raw data was

5     collected.                                                       11:38:16

6                  So the correct -- the total video count

7     is correct.     But there are a few videos that were

8     mistakenly tagged with a -- via a bug -- with

9     durations that are not reasonable.

10                 Again, going back to that reasonable --             11:38:32

11    reasonability discussion we had.           So there's a few

12    videos in there that have durations that are

13    unreasonable, and that's what skews the total

14    duration.

15         Q.      And are you able to produce a spreadsheet           11:38:46

16    that doesn't include that bug?

17         A.      Yes, we could.

18                 MR. GOULD:     Okay.     Mr. Schwing --

19                 MR. SCHWING:     Yes.

20                 MR. GOULD:     -- I would just respectfully         11:39:04

21    ask that -- that Facebook do so and produce it to

22    us, if it hasn't already.

23                 MR. SCHWING:     Yeah.     And it may be

24    helpful to speak to Mr. Fahey about that.              It -- I

25    think it depends on -- I'm -- I'm happy to speak                 11:39:16

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1     with you.    I'm not sure it's quite as simple as          11:39:21

2     just we push a button and it comes out, because

3     there could be some complexities about what -- what

4     videos were impacted by the bug.

5                 And you can ask Mr. Fahey more about that      11:39:34

6     now, if you would like to, but -- or we -- or we

7     can discuss it later.       Whatever -- whatever makes

8     sense.    But it's not the kind of thing that I can

9     just easily do.    I think it may be --

10                (Simultaneously speaking.)                     11:39:46

11                MR. GOULD:     No, I'm not asking you today,

12    by any means.

13                MR. SCHWING:     Well, or even -- it may be

14    difficult later even.       We need to discuss the --

15    the specifics of it because I think it's a little          11:39:54

16    bit of a complex issue.

17                And so if you want to ask Mr. Fahey more

18    about it now, you can, or we can talk about it --

19                MR. GOULD:     Okay.

20                MR. SCHWING:     It's certainly not            11:40:02

21    something we can resolve right now.

22                MR. GOULD:     Sure.   Get it.

23         Q.     (By Mr. Gould)     So Mr. Fahey, on this

24    same spreadsheet, any other errors and omissions

25    that you identified in your review of it, other            11:40:13

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1     than the bug we just talked about?                        11:40:16

2          A.    No.

3          Q.    Okay.    And would you say that Facebook,

4     in producing these numbers, made an effort to avoid

5     errors and omissions?                                     11:40:33

6          A.    Yes.

7                MR. GOULD:    Okay.   So that was 622, I

8     believe.   I think -- yes.

9                (Exhibit 623 was marked for

10    identification by the court reporter and is               11:40:47

11    attached hereto.)

12               MR. GOULD:    So let's move on to 623 --

13    Exhibit 623, Mr. Fahey.

14               This is Bates number -03962691.

15         Q.    (By Mr. Gould)     Mr. Fahey, did you review   11:41:04

16    this document in advance of the deposition today?

17         A.    I did.

18         Q.    So the first column here is "year,"

19    correct?

20         A.    Correct.                                       11:41:21

21         Q.    And next one is "geography," yeah?

22         A.    Correct.

23         Q.    And the possible values of -- for

24    geography are US or rest of world, correct?

25         A.    Correct.                                       11:41:29

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1          Q.   And -- and those -- and -- and those have       11:41:30

2     the meaning that we discussed earlier, correct?

3          A.   That is correct.

4          Q.   And then there is a column titled

5     "metric," correct?                                        11:41:42

6          A.   Yes.

7          Q.   And the possible values are "comment" and

8     "like," correct?

9          A.   That's correct.

10         Q.   And then the one is "value," and those          11:41:51

11    show numbers.

12              Let's leave it there for now.

13              Correct?

14         A.   Yes.

15         Q.   Okay.    So what I'm assuming is that the       11:42:03

16    values shown in D are the numbers of comments and

17    likes on videos for a given year, whether in the US

18    or in the rest of the world; is that correct?

19         A.   No, that's not correct.

20         Q.   Okay.    Then what -- what are those values     11:42:30

21    then, please?

22              Thank you.

23         A.   Yeah.    No, it's -- it's total comments

24    and total reactions.    So "like" is a technical

25    vestige, so it's reactions.                               11:42:41

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1               And it's on all content not just video.         11:42:45

2          Q.   All content and not just video.         Okay.

3               Is -- is Facebook able to break down

4     comments and likes by -- by videos only?

5          A.   That is a very difficult question to            11:43:22

6     answer as yes or no.

7          Q.   Then -- then answer to your best -- the

8     best of your ability.

9          A.   The way we have our data stored and the

10    way that the systems are set up, there's no               11:43:37

11    practicable or feasible way to provide that

12    break- -- breakdown.

13              MR. GOULD:     Okay.   Okay.   Moving on to

14    the next exhibit.

15              (Exhibit 624 was marked for                     11:43:59

16    identification by the court reporter and is

17    attached hereto.)

18              MR. GOULD:     That would be 624, I believe.

19    And that corresponds to Bates number -- for those

20    of you following along -- -03970356.                      11:44:14

21         Q.   (By Mr. Gould)     Mr. Fahey, did you review

22    this document in advance of your deposition today?

23         A.   I did.

24         Q.   Okay.     And the following question applies

25    to both this spreadsheet and the rest of the              11:44:35

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1     spreadsheets that we've seen today.                       11:44:38

2               These spreadsheets have been created by

3     Facebook, correct?

4          A.   Correct.

5          Q.   Okay.    Thank you.                             11:44:43

6               Okay.    So there are three columns, it

7     appears, in this spreadsheet, correct?

8          A.   Yes.

9          Q.   The first column is "year"?

10         A.   Yes.                                            11:44:58

11         Q.   The second is "geography"?

12         A.   Yes.

13         Q.   And the possible values again are rest of

14    the world or US, correct?

15         A.   Correct.                                        11:45:07

16         Q.   Okay.    And then the next column is a

17    column titled "pct_video."

18              Can you tell me what that captures?

19         A.   Yes.    That is the percentage of all

20    content on Facebook that is a video.                      11:45:24

21         Q.   And by what metric is that measured?

22              So in other words, is this by -- by

23    metric -- I mean -- I mean things like -- and if --

24    you don't have to answer this question because I'm

25    going to put it in -- in a form that is admissible.       11:45:58

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1                But the things that I am -- I am talking       11:46:01

2     about would be things like percentage by -- by size

3     of like -- so by megabytes or gigabytes or

4     terabytes, or whatever, right, or percentage by

5     numbers.   Say, if we're counting a video as a post,      11:46:23

6     say, you know, we'd aggregate all posts whether

7     they involve video or not.

8                That's the sort of metric I'm talking

9     about.

10               What is the metric by which percentage of      11:46:45

11    video content is measured?

12               MR. SCHWING:     I'm going to object to the

13    form with all the -- the lead-in.        But maybe --

14    just to help you out maybe, Ben, like can -- give a

15    little explanation.     Maybe it's helpful.               11:47:05

16               Do you want to start with a new question

17    so that he can answer it so I don't have to object

18    to it.

19               MR. GOULD:     Sure.

20               MR. SCHWING:     Okay.                         11:47:11

21         Q.    (By Mr. Gould)     How does Facebook measure

22    the percentage of video?

23         A.    So if you look at 2019 US, which is

24    row 13 in the spreadsheet, and the percentage of

25    video is .013 and a bunch of other numbers after          11:47:36

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1     that.                                                       11:47:42

2                     I think the easiest way to understand

3     that number would be to say that there are 13

4     videos for every 1,000 pieces of content in 2019.

5             Q.      And what are items, that for purposes of    11:48:03

6     this number, are counted as pieces of content?

7             A.      The easiest way to think about in my --

8     there is a more exhaustive taxonomy.             But the

9     easiest way to think of it would be to think of

10    text, photos, and videos.                                   11:48:24

11            Q.      Anything else?

12            A.      Again, I'm sure there are others, but

13    the -- the dominant categories are going to be --

14    and you mentioned this in your example -- posts,

15    right.        So if someone makes a post, it's primarily    11:48:40

16    text.        Somebody makes a post, it's...

17            Q.      And the denominator then is the total

18    pieces of content available on the

19    Facebook Platform as a whole; is that correct?

20            A.      Correct.                                    11:48:59

21            Q.      Or posted, or made available on the

22    Facebook Platform for that year, correct?

23            A.      Correct.

24            Q.      Okay.   And I take it you don't know

25    whether "pct_video" data is available for before            11:49:24

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1     the year 2014, correct?                                        11:49:32

2             A.   That's correct.     I can only speak of --

3             Q.   You don't know whether it's available for

4     after the year 2019, yeah?

5             A.   That's correct, I do not.                         11:49:42

6                  MR. GOULD:   Moving on to I think -- was

7     that 624?     I think it was.

8                  (Exhibit 625 was marked for

9     identification by the court reporter and is

10    attached hereto.)                                              11:49:48

11                 MR. GOULD:   So moving on to 625, which is

12    Bates number -03962693.

13            Q.   (By Mr. Gould)     There are two columns

14    here.

15                 The first is "year," correct?                     11:50:07

16            A.   Correct.

17            Q.   And then the second is "total_videos,"

18    correct?

19            A.   Correct.

20            Q.   What does the "total_videos" column               11:50:12

21    capture?

22            A.   This is the -- the live videos.         So this

23    is the count of live videos for the year.

24            Q.   Live streamed videos?

25            A.   I'm going to say live versus live                 11:50:28

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1     streamed.                                                   11:50:30

2             Q.   And can you explain the distinction

3     between those two things?

4             A.   So there is a capability in Facebook to

5     go live, if you are recording.         Then you say, hey,   11:50:42

6     I want to share what I'm recording.

7                  That is a live video that, again, we --

8     we saw this in a prior chart where there was a live

9     streaming -- "is_live_streaming" versus

10    "was_live_streaming."     So that's what's counted          11:51:04

11    here.

12            Q.   And a video that is recorded using that

13    live button, it can, after it's recording, be

14    uploaded to the Facebook Platform to be viewed on

15    demand, if the content creator so wishes?                   11:51:25

16            A.   If the content creator wishes, they

17    can -- at the conclusion of streaming, they can

18    choose to save.     They can choose to share.

19    They can -- they can -- they can choose to put it

20    on the platform.                                            11:51:47

21            Q.   And does this number include both the US

22    and the rest of the world?

23            A.   Give me one second here.

24                 That's correct.     This is actually US plus

25    the rest of the world.                                      11:52:08

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1          Q.   Okay.   And, again, you don't know whether      11:52:09

2     data is available for this from before 2016 or

3     after 2019, correct?

4          A.   Correct.

5          Q.   Okay.   The way that Facebook gathers this      11:52:17

6     data is, broadly speaking, the same process we've

7     spoken about earlier, correct?

8          A.   Correct.

9          Q.   And Facebook makes an effort to ensure

10    that these numbers -- these total video numbers,          11:52:39

11    are free of errors and omissions, correct?

12         A.   We make an effort, yes.

13         Q.   Okay.   And in your review of these

14    numbers, did you discern any errors or omissions?

15         A.   I did not.                                      11:53:04

16         Q.   Okay.   Let's go back to 624.

17              So this is the "pct_video" one, yeah?

18         A.   Okay.

19         Q.   Okay.   So similar questions, in producing

20    the numbers in this spreadsheet, Facebook makes an        11:53:23

21    effort to ensure that they do not have errors or

22    omissions, correct?

23         A.   That's correct.

24         Q.   And in reviewing this spreadsheet in

25    advance of this deposition, did you discern any           11:53:39

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1     errors or omissions?                                       11:53:41

2          A.      In reviewing this sheet?

3          Q.      This sheet, 624.

4          A.      No.

5          Q.      "No"?                                         11:53:47

6          A.      In reviewing this sheet, no, correct.

7                  MR. GOULD:    Let's -- we were just on 625.

8     So let's move on to 626.

9                  The Bates number here is -03962694.

10                 (Exhibit 626 was marked for                   11:54:04

11    identification by the court reporter and is

12    attached hereto.)

13         Q.      (By Mr. Gould)     And did you review this

14    spreadsheet in advance of the deposition,

15    Mr. Fahey?                                                 11:54:16

16         A.      I did.

17         Q.      And like the other spreadsheets we've

18    reviewed today, this spreadsheet was produced by

19    Facebook, correct?

20         A.      Correct.                                      11:54:27

21         Q.      Okay.    And this spreadsheet has two

22    columns, yeah?

23                 The first is "year," right?

24         A.      Yes.

25         Q.      And then the second is titled                 11:54:42

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1     "total_duration_hrs," correct?                                11:54:43

2          A.    Correct.

3          Q.    Which I assume means total duration

4     hours, yes?

5          A.    That's correct.                                    11:54:53

6          Q.    Okay.     And what does the

7     "total_duration_hrs" column capture?

8          A.    So this is aggregated hours of live

9     videos.   So this is a partner to the sheet we just

10    went through.                                                 11:55:11

11         Q.    And like the sheet we just went through,

12    this captures only those live videos that were

13    recorded using the Facebook live function?

14         A.    So record -- I think recorded -- this is

15    total hours of streamed live videos.         I don't -- I     11:55:37

16    wouldn't want to get into recorded or not.

17         Q.    But -- but both this and the immediately

18    previous spreadsheet show hours of streamed video

19    on the Facebook Platform, correct?

20         A.    Yup.                                               11:56:03

21               MR. SCHWING:     Object -- object to form.

22               Just to be helpful, Ben, you just left

23    out watched.      I think it has to be watched.         You

24    just have --

25               MR. GOULD:     Oh, I'm sorry.                      11:56:19

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1          Q.    (By Mr. Gould)     This shows the total          11:56:27

2     duration of -- the total aggregate duration of live

3     streamed videos watched on the Facebook Platform?

4          A.    No.

5          Q.    No.                                              11:56:40

6                Okay.   What does it show?

7          A.    Okay.   This is the total aggregated

8     duration of all live stream videos.         So if you had

9     ten videos, each one was five minutes long, then

10    the -- and if -- or if you had ten streams, each            11:56:56

11    one was a five-minute stream, then the number you

12    would see would be 50 minutes or, you know,

13    whatever that is --

14         Q.    This -- this number is -- is independent

15    of however much time Facebook users spend watching          11:57:11

16    these videos, correct?

17         A.    This is not -- this is not any type of

18    watch time.

19               MR. SCHWING:     Okay.   My -- my apologies

20    for trying to be helpful there.         I almost got in     11:57:23

21    the way.

22               MR. GOULD:     It is okay.     You at least --

23    you at least removed all ambiguity.

24               MR. SCHWING:     I'm trying to get -- I'm

25    trying to help us get through this.                         11:57:31

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1                 MR. GOULD:   Yeah.    Yeah.     Yeah.   No, it's   11:57:33

2     great.    I appreciate it.

3          Q.     (By Mr. Gould)     And this and the

4     immediately previous spreadsheet show data for both

5     the US and the rest of the world, correct?                     11:57:49

6          A.     That's correct.

7          Q.     Okay.   And in creating this spreadsheet

8     here, Facebook made an effort to avoid errors and

9     omissions, correct?

10         A.     Correct.                                           11:58:04

11         Q.     And in reviewing this spreadsheet, in

12    advance of this deposition, did you discern any

13    errors or omissions?

14         A.     I did not.

15                MR. GOULD:   Okay.    Got it.                      11:58:11

16                Moving on to 627, which is

17    Bates number -03962695.

18                (Exhibit 627 was marked for

19    identification by the court reporter and is

20    attached hereto.)                                              11:58:16

21                THE DEPONENT:     Okay.   I have it open.

22         Q.     (By Mr. Gould)     The columns in this

23    spreadsheet, correct?

24         A.     Correct.

25         Q.     The first is "year," correct?                      11:58:33

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1          A.   Yes.                                            11:58:35

2          Q.   The second is "country"?

3          A.   Yes.

4          Q.   And the possible values under that column

5     are rest of world or US, correct?                         11:58:40

6          A.   Correct.

7          Q.   And those are created using the criteria

8     we spoke about earlier, correct?

9          A.   Correct.

10         Q.   Okay.     And "video_state_type," this is       11:58:50

11    the same -- this has the same meaning as the

12    "video_state_type" column we saw earlier, correct?

13         A.   That is correct.

14         Q.   Great.

15              And then the final column says                  11:59:05

16    "total_views_3s."

17              Does this -- what does that show --

18         A.   That shows --

19         Q.   -- the last column?

20         A.   Yeah, that's a good question.                   11:59:24

21              That shows the number of three-second

22    video views for the given year, for the given

23    country and "video_state_type" in aggregate.

24         Q.   And by "three-second video views," does

25    that mean views where the viewer watched for              11:59:39

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1     three seconds or more?                                    11:59:48

2          A.   Correct.

3          Q.   And this measures videos on the

4     Facebook Platform; is that correct?

5          A.   This measures three-second video views of       12:00:06

6     the -- on the -- of the videos on the

7     Facebook Platform.

8          Q.   Thank you.

9          A.   Yeah.

10         Q.   Okay.    And, again, this was -- this was       12:00:16

11    created by Facebook, yeah?

12              This spreadsheet right here?

13         A.   Yes.

14         Q.   Okay.    And in creating it, Facebook made

15    an effort to avoid errors and omissions?                  12:00:41

16         A.   Yes.

17         Q.   And in reviewing it, did you discern any

18    errors or omissions?

19         A.   I did not.

20         Q.   Okay.    Moving on, we have just reviewed       12:00:49

21    spreadsheets containing a variety of metrics for

22    video content, correct, Mr. Fahey?

23              Sorry.     Let me restate that.

24              Putting aside the spreadsheet, we

25    discussed that had -- that was about comments and         12:01:24

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1     likes, all of the spreadsheets we have viewed so          12:01:31

2     far measure -- measure various metrics related to

3     video content only, correct?

4          A.   Yes, that's correct.

5          Q.   Okay.   Are there other ways that Facebook      12:01:49

6     measures video content, that's delivered via the

7     Facebook Platform, that do not appear in the

8     documents we've gone over so far?

9               MR. SCHWING:     The question is vague.

10              THE DEPONENT:     That's pretty open-ended.     12:02:20

11    Could you be more specific about the kind of metric

12    you're looking for.

13         Q.   (By Mr. Gould)     Well, sitting here, can

14    you think of any metric that, in your experience,

15    you've seen applied to video content on the               12:02:45

16    Facebook Platform that we haven't spoken about thus

17    far in this deposition?

18              Please take your time.

19              MR. SCHWING:     The question is vague.

20              THE DEPONENT:     No.                           12:03:25

21         Q.   (By Mr. Gould)     Okay.    So does

22    Facebook -- I'll be more specific now.

23              Does Facebook have a way of measuring the

24    amount of video-content-related data, the

25    proportion of that, relative to the total amount of       12:03:53

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1     data on the Facebook Platform?                            12:03:57

2                MR. SCHWING:     Sorry --

3                THE DEPONENT:     If you mean in

4     megabytes --

5                MR. SCHWING:     I'm sorry, Mr. Fahey,         12:04:06

6     just -- sorry.     You're quicker -- quicker than I

7     am.

8                THE DEPONENT:     Sorry.

9                MR. SCHWING:     The question is vague.

10               I apologize for interrupting you.              12:04:11

11               You can go ahead, if you understand.

12          Q.   (By Mr. Gould)     Mr. Fahey, I'll -- just

13    for -- to make things easier, I'm going to restate

14    it.

15               Can Facebook measure the amount of data        12:04:28

16    that's related to video content on the

17    Facebook Platform, relative to the total amount of

18    data on the Facebook Platform?

19               MR. SCHWING:     The question is vague.

20               THE DEPONENT:     Could I maybe help?          12:04:54

21          Q.   (By Mr. Gould)     Please.    Please.

22          A.   Do you mean -- do you mean like -- do you

23    mean in terms --

24          Q.   I will take all the help I can get.

25          A.   Do you mean in terms of megabytes?             12:05:04

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1          Q.   Yeah.                                            12:05:07

2          A.   Is that what you mean?

3          Q.   Yeah.

4          A.   I would have to -- I would only be

5     speculating.   I am not aware --                           12:05:13

6          Q.   Okay.

7          A.   -- of anything related to that.

8          Q.   Does -- can Facebook measure the

9     proportion out of the aggregate user time spent on

10    the platform that users spend watching videos?             12:05:28

11              MR. SCHWING:     Vague.

12              THE DEPONENT:     Are you asking if a value

13    like column B from Bates number -2690,

14    Exhibit 622 -- are you asking if that could be used

15    as a numerator?                                            12:06:11

16         Q.   (By Mr. Gould)     Sure.    Let's start there.

17              Yes, that's what I mean.

18         A.   For that one, no.

19              Let me take a look here.       I might be in

20    the wrong sheets.                                          12:06:40

21              Yeah.     I'm -- I'm not -- you know, I'd

22    have to -- I'd be speculating.       I'm going through

23    these sheets and I -- and I -- I think understand

24    the question you're asking.     And I could only

25    speculate or guess.     I'm not aware.                     12:06:55

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1             Q.     How about -- go to Exhibit 621, if you         12:07:00

2     wouldn't mind --

3             A.     Sure.

4             Q.     -- which is Bates number, I believe,

5     -03962689?                                                    12:07:09

6             A.     Correct.

7             Q.     Okay.   And do you see column D there?

8             A.     Yeah, "watch_hours."

9             Q.     Could that be used as a numerator similar

10    to the way that you -- that we just discussed?                12:07:27

11                   MR. SCHWING:     The question is vague.

12                   THE DEPONENT:     Yeah, I'd only -- I could

13    only -- I could only speculate.

14            Q.     (By Mr. Gould)     Do you know whether

15    Facebook measures the amount of time that users               12:07:45

16    spend on the Facebook Platform?

17                   MR. SCHWING:     Outside the scope.

18                   THE DEPONENT:     I do.

19            Q.     (By Mr. Gould)     And does it keep track of

20    that?                                                         12:08:11

21                   MR. SCHWING:     Same objection.

22                   THE DEPONENT:     We keep track of time

23    spent.       But you asked as a proportion, and I would

24    spec- -- I would be speculating as to whether or

25    not those two numbers could be used at -- together.           12:08:38

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1          Q.   (By Mr. Gould)     Fair.                        12:08:44

2               It is correct to say, however, that

3     Facebook has the capacity to produce numbers

4     showing the aggregate amount of time that all users

5     spend on the Facebook Platform for a given year; is       12:09:10

6     that correct?

7               MR. SCHWING:     Outside the scope.

8               THE DEPONENT:     I would only be

9     speculating at this point in time whether or not

10    we -- we do or have produced that number.                 12:09:30

11         Q.   (By Mr. Gould)     You testified that

12    Facebook keeps track of time spent on the

13    Facebook Platform; is that correct?

14         A.   That's correct.

15         Q.   And does Facebook store the raw data that       12:09:49

16    is produced by that measurement somewhere?

17         A.   I honestly don't know.

18         Q.   Does Facebook have a way of measuring how

19    many videos are watched on Facebook -- on the

20    Facebook Platform each day?                               12:10:36

21         A.   For Exhibit 621, are you asking if it's

22    possible to produce a row that instead of being by

23    year is a row by day?

24         Q.   Sure.   Yes.

25         A.   Yes.                                            12:10:58

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1          Q.     Okay.   And here we're -- we talked           12:10:59

2     about -- actually, never mind.

3                 So "watch_hours" by day is a -- is a

4     metric    that is possible -- that -- that Facebook

5     can produce, correct?                                     12:11:17

6          A.     Aggregate "watch_hours" by day --

7          Q.     Okay.

8          A.     -- for a very limited time frame and

9     recent time frame is something that can be

10    produced.                                                 12:11:30

11         Q.     Okay.   And numbers of video uploaded by

12    day for a very recent time frame is something that

13    Facebook can produce, too, correct?

14         A.     I'm sorry.   Say that again, please.

15         Q.     Sure.                                         12:11:48

16                You testified that Facebook can produce

17    aggregate "watch_hours" by day for a very limited

18    time frame that is a recent time frame, correct?

19         A.     That's correct.

20         Q.     And can the numbers of videos uploaded by     12:12:14

21    day for a very limited time frame that is a recent

22    time frame likewise be produced?

23         A.     So I'm just trying to correlate your

24    question to one of these existing by year charts.

25         Q.     Take your time.                               12:12:43

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1          A.   For that I would be speculating.                12:13:01

2     That would -- that's not something I could -- I

3     could say yes or no to.

4          Q.   For the spreadsheets we have discussed so

5     far, videos that are included in advertisements on        12:13:18

6     the Facebook Platform have not been included in any

7     of the numbers we have looked at, correct?

8          A.   That's a great question.

9




14         A.   Yeah.   Sorry for the -- for the term.

15         Q.   That's fine.                                    12:14:10




22         Q.   And is it a different classification

23    because the video that is boosted was originally

24    uploaded for free to the Facebook Platform?

25         A.   I can't -- I can't speak to the -- the          12:15:11

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1     intents.   I -- I think it's actually -- well, I'd         12:15:14

2     be speculating, but I think it's a -- a leftover

3     term from, you know, how the platform has evolved.

4     The way I think of it is a boost in an ad is

5     similar or the same.                                       12:15:29

6          Q.    Let me give an example to see if I

7     understand what this means.

8                Suppose that Larry David uploads -- do

9     you know who Larry David is?

10         A.    (Deponent nods head.)                           12:15:56

11         Q.    Okay.    Let's suppose that Larry David

12    uploads a video showing him buying cryptocurrency.

13    Let's say a cryptocurrency exchange wants to ensure

14    that people see that video -- or more people see

15    that video.                                                12:16:26

16               Would one way to do that be to boost that

17    video?

18               MR. SCHWING:     Outside the scope, insofar

19    as it relates to advertising.       There's another

20    witness for that.                                          12:16:41

21               THE DEPONENT:     I'd be -- I -- I would be

22    speculating on how that interplay between the

23    creator and the company would work.         I -- I don't

24    know the answer to that.

25               MR. GOULD:     Okay.                            12:16:57

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1                    MR. SCHWING:     Ben, we've been going for a       12:17:13

2     little over an hour.          Is this a good time for a

3     break?

4                    MR. GOULD:     Sure.     Do you want to take a

5     five- or ten-minute break?            I'm happy to do that.       12:17:20

6                    MR. SCHWING:     Okay.     And without holding

7     you to anything hard and fast, do you have a sense

8     of --

9                    MR. GOULD:     Oh, I would say -- I -- I

10    would say that we probably have an hour to go.                    12:17:34

11                   MR. SCHWING:     Okay.     All right.     That's

12    helpful.       I was just, you know --

13                   MR. GOULD:     Yeah.

14                   MR. SCHWING:     -- an approximation, and

15    we're trying to get other folks.                So that -- all    12:17:49

16    right.       Why don't we go ahead and take a break and

17    we'll be back in about ten.

18                   THE VIDEOGRAPHER:        Okay.     We're off the

19    record.       It's 12:17 p.m.

20                   (Recess taken.)                                    12:20:52

21                   THE VIDEOGRAPHER:        We're back on the

22    record.       It's 12:36 p.m.

23            Q.     (By Mr. Gould)     Mr. Fahey, I asked you

24    whether -- for any of the spreadsheets we have

25    discussed, whether video content that is included                 12:37:01

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1     in advertisements were included in the numbers that          12:37:09

2     we looked at.

3               Do you remember that question?

4          A.   I do.

5          Q.   Okay.     And your testimony was that the          12:37:17

6     counts of videos include videos that might have

7     been boosted or used as an ad; is that correct?

8          A.   Say that again, please.

9          Q.   I think your testimony was -- and this

10    might be a typo -- but the counts of videos include          12:37:47

11    videos that may have been boosted or used as an ad

12    or used by an app.      I don't --

13         A.   Ad.     Ad.   So --

14         Q.   Okay.

15         A.   Ad.     So the count of videos includes            12:38:07

16    videos used as ads.

17         Q.   As ads.

18              Do the videos that are counted -- well,

19    let me ask this slightly differently.

20              When we -- you talk about a video that             12:38:30

21    was used as an ad, what do you mean?

22         A.   I'm going to give you my best

23    layperson --

24         Q.   Please.

25         A.   -- understanding.         Ads are not my area of   12:38:51

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1     expertise.                                                  12:38:53

2                  If you have a video, a piece of creative

3     content that you want to have shown in an

4     advertisement, you can, as I understand it, create

5     an advertisement and then use that video in that            12:39:14

6     advertisement.        And if you use that video in the

7     advertisement, regardless of whether you've used it

8     in the advertisement or not, would be counted as a

9     video.

10         Q.      I see.                                         12:39:28

11                 And -- but in order to be counted as a

12    video, it has to have had an independent existence

13    outside the ad, correct?

14         A.      That's where you're pushing my

15    understanding of how things work.          I -- I don't     12:39:45

16    know the answer to that.        That's -- that would be a

17    better question for someone who knows the ad

18    system.

19         Q.      The problem, of course, is that someone

20    who knows the ad system may not know the metrics.           12:39:58

21                 Is it fair to say, though, that your

22    understanding of how the metrics regarding video

23    content were created is that in order to be

24    included in the video metrics, a video has to have

25    had an independent existence on the                         12:40:24

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1     Facebook Platform outside of an ad?                       12:40:27

2                MR. SCHWING:     Objection.    Vague.

3                THE DEPONENT:     The video counts are based

4     on published videos.      I can't speak to any of the

5     caveats that you -- you put forward related to ads        12:41:00

6     or not.

7           Q.   (By Mr. Gould)     Sure.

8                Suppose that -- is a video that appears

9     solely in an advertisement considered to be a

10    published video?                                          12:41:39

11          A.   A published -- whether or not a video was

12    published, the way I'm using the word "published,"

13    doesn't have any bearing on -- on ads or the ad

14    system.

15          Q.   What do you -- what do you mean by it          12:42:01

16    "doesn't have any bearing"?

17          A.   So if you think about the process by

18    which someone would choose to share a video, they

19    can upload the video without choosing to publish

20    it.   Meaning that it's been uploaded and it's            12:42:20

21    stored, but it is not available to anyone other

22    than the person who uploaded it.

23          Q.   So in order for a video to be

24    published -- well, let's talk about the ways in

25    which a video can be published.                           12:42:51

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1                  One of those ways is if a user uploads a     12:42:53

2     video and then shares it with friends, correct?

3          A.      If a user that is not -- that is --

4     that -- when you say "user," do you mean somebody

5     like yourself or myself, that kind.                       12:43:15

6          Q.      Yeah.

7          A.      If a user uploads a video, it will be

8     published unless they have specifically set their

9     privacy settings or their app settings to be

10    otherwise.                                                12:43:43

11         Q.      What about if a user live streams a

12    video, is that -- does that fall -- live streams it

13    such that other Facebook users can watch it.

14                 Does that come under the heading of

15    publishing a video?                                       12:44:09

16         A.      A live -- a stream is not going to be a

17    published video --

18         Q.      Got it.

19         A.      -- until it moves, as I understand it,

20    from live streaming -- "is_live_streaming" to             12:44:29

21    "was_live_streaming."     And then again permissions

22    need to be set as well.

23         Q.      If an organization or group with a

24    Facebook page uploads a video to their page, and

25    the privacy settings are such that other Facebook         12:45:00

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1     users that -- that -- that Facebook users can watch       12:45:03

2     it, is that -- does that fall under the heading of

3     pub- -- publishing the video?

4          A.   If a user uploads to a page the way you

5     described, yes.                                           12:45:19

6          Q.   Okay.    And -- well, by -- by user, are

7     you -- do you -- are you including organizations or

8     groups of Facebook pages?

9          A.   Yes.

10         Q.   Okay.    If a brand places an ad with           12:45:40

11    Facebook and that ad includes video content, is

12    that publishing a video?

13         A.   Going back to my caveat that I'm not an

14    expert on the ad system, if -- when you say

15    "brand," do you mean an organization or -- or a           12:46:21

16    user, or somebody -- what do you mean by "brand"?

17         Q.   J.C. Penney.     Boeing.

18         A.   Okay.

19         Q.   Sears.

20         A.   Sure.                                           12:46:32

21         Q.   Microsoft, whatever.

22         A.   If they upload a video to their page,

23    that's what I mean by published.

24         Q.   What if they don't upload it to the page

25    but simply place it as an ad with Facebook; is that       12:46:50

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1     publishing a video?                                           12:46:55

2            A.     That starts to get into how the ad system

3     works.      I -- I couldn't speak to that process at

4     all.     Like the -- the way you're summarizing that,

5     I couldn't speak to that.                                     12:47:07

6            Q.     When a Facebook user uploads video

7     content to the Facebook Platform, the

8     Facebook Platform stores that video content

9     somewhere, correct?

10           A.     Yes.                                            12:47:32

11           Q.     Where does it store the video content?

12           A.     I don't mean to be difficult here.        But

13    when you say "where" --

14           Q.     Uh-huh.

15           A.     -- it gets stored in our infrastructure.        12:47:54

16           Q.     And -- and where within the Facebook

17    infrastructure is it stored?

18           A.     I -- I couldn't speak to physically

19    where.

20           Q.     What about location in terms of                 12:48:05

21    Facebook's systems, where in Facebook's systems is

22    it stored?

23           A.     From a systems perspective, it's going to

24    be stored on the back end of the Facebook Platform.

25           Q.     And when you say "back end of the               12:48:22

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1     Facebook Platform," what does that include -- what           12:48:31

2     systems does that include?

3          A.      That includes -- there's a variety of

4     systems.     But I think the one that you're looking

5     for is a system called TAO.                                  12:48:44

6          Q.      And when Facebook stores uploaded video

7     content, it's storing -- it's storing the video

8     frames associated with that video, correct?

9          A.      Are you asking how is a video stored?

10         Q.      Yes.     Sure.   Let's start there.             12:49:19

11                 How is the video stored?

12         A.      I could not really speak to the mechanics

13    of how it's stored.

14         Q.      And --

15                 MR. SCHWING:      Yeah, I'm just going to       12:49:37

16    insert a belated objection that this is outside of

17    the scope.     Mr. Fahey can talk about the user's --

18    kind of the infrastructure for the user's access,

19    and, you know, tracking of user's access

20    interactions.       But the storing of the actual video      12:49:50

21    is not something that is contemplated under

22    topic 9a or b.        And there will be another witness

23    with respect to advertising.

24         Q.      (By Mr. Gould)      Mr. Fahey, would you mind

25    going back to -- going back to Exhibit 330 for me.           12:50:14

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1     I'm going to direct your attention to page 15.            12:50:34

2                 Let me know when you're there.

3          A.     I'm on page 15.

4          Q.     Okay.   And do you see at the very top of

5     the page, it reads "b. the records or information         12:51:07

6     that Facebook has regarding such content and users'

7     access to, interactions with or sharing of such

8     content."

9                 You understand that that's one of the

10    subtopics you were designated to testify on; is           12:51:24

11    that correct?

12         A.     Yes, I do.

13         Q.     Okay.   And do you have any questions

14    about what that means?

15         A.     Yes, I do.                                    12:51:38

16         Q.     Okay.   What questions do you have about

17    what subtopic b means?

18         A.     What is meant by records or information.

19         Q.     Well, among other things, you know, what

20    we meant was where and how video content is stored.       12:51:57

21    But let's -- let's put that aside for now.

22                Are you -- let me just -- again, I don't

23    want to waste anybody's time.

24                Are you prepared to testify about how and

25    where video content is stored on Facebook when --         12:52:19

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1     when -- when video content is uploaded to Facebook?       12:52:23

2          A.      I'm prepared to testify about how we

3     track and measure video.

4          Q.      Okay.

5          A.      And interactions and sharing.                12:52:37

6          Q.      Okay.   So you're -- you're not prepared

7     to testify about storage of video content, correct?

8          A.      Correct.   That's not my area of

9     expertise.

10         Q.      Okay.   Okay.   So you wouldn't be able to   12:52:54

11    prepare -- you -- you wouldn't be prepared to

12    testify about whether, say, comments on an uploaded

13    video are one of the things that are stored along

14    with the video content itself?

15         A.      I can say that comments for a video are      12:53:31

16    stored.    What I can't say is how they are stored in

17    relationship to the video.

18         Q.      And same with "likes," you wouldn't be

19    able to testify about where they are stored or how

20    they are stored in relation to the video content,         12:53:52

21    correct?

22         A.      Correct.

23         Q.      Okay.   Are you prepared to testify about

24    how video content is retrieved or made available to

25    a user who views it?                                      12:54:24

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1          A.     No.                                             12:54:30

2          Q.     Okay.    Are you prepared to testify about

3     how video content is retrieved or made available to

4     a user who comments on it?

5          A.     No.                                             12:54:47

6          Q.     Are you prepared to testify about how

7     video content is delivered to or made available to

8     a user who shares it?

9                 MR. SCHWING:     I'll just note that there

10    is another witness who we've identified who can             12:55:12

11    discuss how users are able to access video.

12                David Miller will -- will be able to

13    speak to that.      Not necessarily the -- like the

14    nitty-gritty technical storage issue.          But if

15    you're asking about, you know, video made available         12:55:35

16    to users, he -- he can address that.

17                So I wanted to just flag that.         But if

18    your questions are more sort of technical in

19    nature, then...

20                MR. GOULD:     Okay.     David Miller, who's    12:55:51

21    designated to testify about subtopic c, will be

22    able to discuss how users are able to access video?

23                MR. SCHWING:     Yeah.     In terms of --

24    right.    I mean, there are different tabs in -- on

25    Facebook you can see through watch or live or --            12:56:04

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1     you know, and -- and how you could go about doing            12:56:06

2     that.

3                     MR. GOULD:     Okay.

4                     MR. SCHWING:     If your questions are

5     nitty-gritty technical questions --                          12:56:13

6                     MR. GOULD:     Okay.

7                     MR. SCHWING:     -- about where a video is

8     stored, like -- you know, and how it works through,

9     you know, an -- an edge server, or something like

10    that, I'm not sure why that would be relevant to             12:56:24

11    the case, but he wouldn't be able to do that.

12                    I don't know why you would want to know

13    that, but we can -- we can chat with you about

14    that.        I just wanted to make sure that -- to -- to

15    try to be helpful in terms of, you know, Mr. Fahey           12:56:33

16    today and what he can cover versus other witnesses

17    that -- that I share that.

18            Q.      (By Mr. Gould)     Again, I don't want to

19    waste your time, Mr. Fahey.

20                    So are you -- are you prepared to testify    12:56:51

21    about whether video content is stored, just the

22    fact of storage?

23            A.      As I mentioned before, yeah, I can say

24    that video is stored.           It -- it gets into --

25    the how is not my area of expertise.                         12:57:09

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1                I interpreted topic b as the -- as being       12:57:16

2     related to topic a.      So the systems related to the

3     counts.   The systems related to the numbers and the

4     metrics that are produced.      So that's what I

5     prepared for today.                                       12:57:29

6          Q.    Got it.

7                Are you aware of any time during which

8     video content was capable of being uploaded to the

9     Facebook Platform where uploaded videos were not

10    stored?                                                   12:57:49

11         A.    I couldn't speak to that one way or the

12    other because that predates my time here.

13         Q.    Okay.     During your tenure at Facebook,

14    i.e., since 2014, are you aware of any time during

15    which videos uploaded to the Facebook Platform were       12:58:09

16    not stored?

17         A.    My definition for upload implies storage.

18    So if the video was uploaded, it would have been

19    de facto stored.

20         Q.    In other words, storage is inherently a        12:58:37

21    part of uploading, correct?

22         A.    Correct, because if it was not -- if it

23    was a failed upload, it would not have been stored.

24         Q.    Fabulous.

25               If video is live streamed and then saved       12:58:58

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1     to the Facebook Platform, that saving likewise                12:59:01

2     inherently involves storage, correct?

3          A.      That saving process effectively is

4     another upload -- is another upload process, yes.

5          Q.      So every time video content that has been        12:59:20

6     live streamed is saved to the Facebook Platform, it

7     is stored?

8          A.      Not my area of expertise.       And the reason

9     I'm equivocating here is because you said "every

10    time," and I would be speculating.                            12:59:43

11         Q.      Can you imagine a situation in which

12    video is live streamed and then stored -- excuse

13    me -- then saved to the Facebook Platform and is

14    not stored somewhere in Facebook's systems?

15         A.      I'd have to -- that's not my area of             01:00:04

16    expertise.     That -- that starts getting into how a

17    product works.       It's just really outside of that.

18         Q.      Okay.

19         A.      It's really -- it's really outside of

20    what I know.                                                  01:00:15

21         Q.      Okay.    Are you prepared to -- to testify

22    about whether or not "comments" and "likes," or

23    other interactions with video content, whether that

24    is -- that data is stored?

25         A.      Yes, that data is stored.                        01:00:50

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1          Q.      Great.   Okay.                                01:00:52

2                  Does Facebook store information about

3     which users watch a piece of video content?

4          A.      Can you be more specific or provide an

5     example?                                                   01:01:12

6          Q.      Sure.

7                  Suppose that ten Facebook users watch a

8     video one of their friends has uploaded, are the

9     names and user ID numbers of those watchers stored

10    somewhere on Facebook's systems as having watched          01:01:40

11    the video?

12                 MR. SCHWING:     The question is vague.

13                 THE DEPONENT:     Facebook stores tracks if

14    someone has commented or -- and I think that was

15    the phrase you used, right, was "commented"?               01:02:18

16                 Did you say "liked"?

17         Q.      (By Mr. Gould)     I'm -- I'm -- no, I'm

18    talking about watching.

19                 Does Facebook track whether users watch a

20    video that's been uploaded to the platform?                01:02:27

21         A.      Yes.

22         Q.      And is the name of the Facebook user who

23    has watched the uploaded video stored by Facebook?

24         A.      I don't know the answer to that.

25         Q.      Is the I- -- is the user ID number of the     01:03:02

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1      Facebook user who watches the video stored by             01:03:03

2      Facebook?

3           A.     I don't know the answer to that either.

4           Q.     Are the aggregate numbers of persons who

5      have watched a video stored by Facebook?                  01:03:20

6           A.     Say that again, please.

7           Q.     The -- are the aggregate numbers of the

8      persons who have so far watched a video stored by

9      Facebook?

10          A.     Aggregate numbers are stored by what's --     01:03:36

11     aggregation.     We've -- we've seen a few, but I --

12     I'm not sure which specific aggregation you're

13     talking about.

14          Q.     Well, in this case, I'm just talking

15     about the number of Facebook users who -- who watch       01:04:00

16     a video.

17                 That -- that is stored, correct?

18          A.     Total video -- total number of people who

19     watched a specific video.

20          Q.     That is stored, correct?                      01:04:14

21          A.     That is stored, yes.

22          Q.     And total amount of time that people have

23     watched a specific video is also stored, correct?

24          A.     Correct.

25          Q.     And the number of persons who have            01:04:43

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1      watched a video for three or more seconds is also         01:04:45

2      stored, correct?

3           A.      That is correct.

4           Q.      Are the number of persons who have liked

5      a video stored?                                           01:05:10

6           A.      I don't know that it's stored as "likes."

7      It might be stored as reactions.

8           Q.      And reactions -- can you tell me what is

9      included in the category of reactions?

10          A.      It is -- there is -- I can't say             01:05:43

11     specifically.

12                  An example would be a like.       Another

13     example might be a smiley face, an emoji.

14          Q.      Reactions of that kind --

15          A.      Correct.                                     01:05:53

16          Q.      -- in essence, yes?

17                  So -- okay.    Reactions of that kind

18     are -- reactions of that kind to videos are stored

19     by Facebook, correct, the number of those

20     reactions?                                                01:06:12

21          A.      The number of reactions to a video in

22     aggregate are stored.

23                  MR. GOULD:    Mr. Schwing, I think if we

24     take a quick two- or three-minute break, we will

25     probably be able to finish up very quickly                01:06:33

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1      thereafter.                                                   01:06:35

2                 Okay?

3                 MR. SCHWING:     Okay.     Why don't we take --

4      why don't we take a short break and we'll be back.

5                 MR. GOULD:     Thanks.                             01:06:42

6                 THE VIDEOGRAPHER:        Okay.   Off the record.

7      It's 1:06 p.m.

8                 (Recess taken.)

9                 THE VIDEOGRAPHER:        We're back on the

10     record.   It's 1:19 p.m.                                      01:19:49

11          Q.    (By Mr. Gould)     We have talked about what

12     Facebook tracks on its platform, correct?

13          A.    Correct.

14          Q.    What I want to know is, you know, do you

15     know whether Facebook tracks access to video                  01:20:10

16     content by third parties?

17          A.    I don't.

18                MR. SCHWING:     It's outside the scope.

19          Q.    (By Mr. Gould)     So tell me if this is a

20     fair understanding of -- of -- of what you have               01:20:30

21     been prepared to testify about today.

22                As I understand it, you prepared to

23     testify today, and are prepared to testify today,

24     about the metrics related to user access to video

25     content, correct?                                             01:20:55

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1           A.      That's topic 9a, correct, that you           01:21:00

2      just --

3           Q.      Yeah.   I mean -- yes, that's in -- in my

4      view, it's included in 9a.

5                   But what I want to know is I -- I just       01:21:08

6      want to know what -- what -- putting aside,

7      you know -- the -- the notice of deposition, I just

8      want to know the answer to what you are and are not

9      prepared to testify about today.        So let me just

10     reask the question.                                       01:21:22

11                  You are prepared to testify today about

12     metrics related to user access to video content,

13     correct?

14          A.      Metrics related to user access.

15                  I'm prepared to -- to talk about metrics     01:21:40

16     related to video.      You'd have to be more specific

17     when you say -- when you get into user access.

18          Q.      By "user access," I mean user -- the

19     amount of time users have spent watching videos,

20     the numbers of users who have watched videos, the         01:22:03

21     interactions by viewers to -- to -- by users to --

22     to videos.     That's the heading under which I would

23     put "user access."

24                  Did -- so -- so that's what I mean by

25     "user access."                                            01:22:25

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1                 Is that -- is that fairly clear?                01:22:26

2           A.    That is clear.

3           Q.    Okay.    So under that definition of user

4      access, you are testi- -- you are prepared to

5      testify about metrics related to user access,              01:22:33

6      correct -- to video content, correct?

7           A.    I'm prepared to -- to speak about metrics

8      related to video content.

9                 The metrics we've gone through are --

10     like "watch_time" are all aggregated.        So I -- I'm   01:22:47

11     prepared to talk about those numbers.        But I'm not

12     prepared to talk about any specific numbers at a

13     user level.

14          Q.    Sure.

15                You're prepared to testify about                01:23:01

16     aggregated metrics related to user access to video

17     content, correct?

18          A.    Yes.

19          Q.    You are prepared to testify about metrics

20     related to the aggregate amount of video content,          01:23:21

21     correct?

22          A.    Correct.

23          Q.    You are prepared to testify about the

24     systems that are used to produce the -- these

25     metrics, correct?                                          01:23:56

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1           A.    Correct.                                       01:24:01

2           Q.    So I just -- I -- I just want to

3      understand.      Okay.

4                 We've talked about three things you're

5      prepared to testify about.                                01:24:10

6                 You're prepared to testify about

7      aggregated metrics related to user access to video

8      content.

9                 You're prepared to testify about metrics

10     related to the aggregate amount of video content.         01:24:18

11                And you're prepared to testify about the

12     systems that are used to produce those metrics,

13     correct?

14          A.    Yes.

15          Q.    Is there anything else that you prepared       01:24:31

16     to testify about today?

17          A.    No.

18                MR. GOULD:    Okay.   I think that does it,

19     except for --

20          Q.    (By Mr. Gould)    So during your testimony,    01:24:53

21     have you consulted with anybody about the substance

22     of your testimony?

23          A.    No.

24          Q.    And during this deposition, including

25     during breaks, has anyone communicated to you about       01:25:06

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1      the substance of your testimony?                           01:25:09

2                MR. SCHWING:     Are you talking about other

3      than attorneys?

4                MR. GOULD:     I'm -- I'm including

5      attorneys, yes.                                            01:25:19

6                MR. SCHWING:     All right.    Well, I'll

7      instruct the witness not divulge any

8      attorney-client privileged communications that may

9      or may not have happened.

10               But if you spoke with anybody else, you          01:25:29

11     can answer that question.

12          Q.   (By Mr. Gould)     Mr. Fahey, I'm not asking

13     about the substance of anyone -- anything anyone

14     may have said to you.

15               What I'm asking about is that -- is              01:25:38

16     during your deposition today has -- including

17     during breaks -- has anyone communicated to you

18     about the substance of your testimony?

19               MR. SCHWING:     And the witness is not

20     going to reveal any communications or the nature of        01:25:50

21     any communications he had with attorneys.         But if

22     he spoke with a nonattorney, you can ask that.

23          Q.   (By Mr. Gould)     Do you want me to reask

24     the question, Mr. Fahey?

25               I'm sorry.                                       01:26:14

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1                   SPECIAL MASTER GARRIE:        Can I make a        01:26:17

2      suggestion?

3                   MR. GOULD:   Yeah, of course.

4                   SPECIAL MASTER GARRIE:        Well, Mr. Fahey,

5      do you have a question about privilege right now?              01:26:20

6                   THE DEPONENT:     I do.

7                   SPECIAL MASTER GARRIE:        Okay.   So here's

8      what's going to happen.

9                   We're going to go off the record.

10     Counsel Schwing, you're going to take five minutes             01:26:28

11     and explain to Mr. Fahey -- let's go off the

12     record.   Strike what I just said.          Let's just go

13     off the record, please.

14                  THE VIDEOGRAPHER:     Okay.     We're off the

15     record.   It's 1:26 p.m.                                       01:26:41

16                  (Recess taken.)

17                  THE VIDEOGRAPHER:     We're back on the

18     record.   It's 1:33 p.m.

19                  MR. GOULD:   I'll just reask the question

20     again just to make sure we all understand each                 01:33:17

21     other.

22          Q.      (By Mr. Gould)     During this deposition,

23     including during breaks, has anyone communicated to

24     you about the content and substance of your

25     testimony?                                                     01:33:31

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1            A.   No.                                              01:33:33

2                 MR. GOULD:     Thank you.    That does it for

3      me.   Appreciate it.

4                 SPECIAL MASTER GARRIE:       Counsel Schwing,

5      any redirect?                                               01:33:45

6                 MR. SCHWING:     No.

7                 SPECIAL MASTER GARRIE:       We will go -- oh,

8      do you want to designate this transcript?

9                 MR. SCHWING:     Yeah.   We'll designate the

10     transcript as "Highly Confidential."                        01:33:54

11                I think what we've been doing in the --

12     with other depositions is the witness, once we get

13     the transcript, will have 45 days to review it and

14     make any changes.

15                Is that acceptable?                              01:34:09

16                SPECIAL MASTER GARRIE:       So noted -- so

17     noted for the record.

18                Counsel Gould, you're finished, so I'll

19     leave it to the parties if, you want to let the

20     witness go, and we can --                                   01:34:21

21                MR. GOULD:     Since Mr. Fahey isn't

22     testifying about subtopics c or d, I think he can

23     go.

24                MR. SCHWING:     Yeah.

25                SPECIAL MASTER GARRIE:       Well,               01:34:40

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1      Mr. Fahey --                                                    01:34:40

2                   THE DEPONENT:    I can hang up.

3                   MR. SCHWING:    Yeah.     Thank you,

4      Mr. Fahey.

5                   SPECIAL MASTER GARRIE:          We'll go off the   01:34:45

6      record.

7                   THE VIDEOGRAPHER:       Okay.     We're off the

8      record.   It's 1:34 p.m.

9                   (TIME NOTED:    1:34 p.m.)

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1            I, Rebecca L. Romano, a Registered
2      Professional Reporter, Certified Shorthand
3      Reporter, Certified Court Reporter, do hereby
4      certify:
5            That the foregoing proceedings were taken
6      before me remotely at the time and place herein set
7      forth; that any deponents in the foregoing
8      proceedings, prior to testifying, were administered
9      an oath; that a record of the proceedings was made
10     by me using machine shorthand which was thereafter
11     transcribed under my direction; that the foregoing
12     transcript is true record of the testimony given.
13           Further, that if the foregoing pertains to the
14     original transcript of a deposition in a Federal
15     Case, before completion of the proceedings, review
16     of the transcript [X] was [ ] was not requested.
17           I further certify I am neither financially
18     interested in the action nor a relative or employee
19     of any attorney or any party to this action.
20           IN WITNESS WHEREOF, I have this date
21     subscribed my name this 26th day of July, 2022.
22
23
               <%7321,Signature%>
24             Rebecca L. Romano, RPR, CCR
25             CSR. No 12546

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             1       RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION
             2       MICHAEL FAHEY (JOB NO. 5300517)
             3                                        E R R A T A              S H E E T
             4            16
                     PAGE_____       2
                               LINE_____        “Shweta Metkar” to
                                         CHANGE________________________
             5        “Shweta Medhekar”
                     __________________________________________________
             6              Typo
                     REASON_____________________________________________
             7            16
                     PAGE_____      2
                               LINE_____        “Gee” to “Ji”
                                         CHANGE________________________
             8       __________________________________________________
             9              Typo
                     REASON____________________________________________
           10             24
                     PAGE_____      7
                               LINE_____        “a” to “an”
                                         CHANGE________________________
           11        __________________________________________________
           12               Misspoke
                     REASON____________________________________________
           13             29
                     PAGE_____       21 CHANGE_
                               LINE_____                                                            _______
           14                                                _______________________________
           15               Mistranscription
                     REASON____________________________________________
           16              30 LINE_____
                     PAGE_____      9          “a average” to “an average”
                                        CHANGE________________________
           17        __________________________________________________
           18               Misspoke
                     REASON____________________________________________
                                                “Q. Okay. And this spreadsheet
           19             70
                     PAGE_____      22-24 CHANGE________________________
                               LINE_____
                    has two columns, yeah?” to “Q. Okay. And this spreadsheet
           20       has two columns, yeah? A. Yes.”
                    __________________________________________________
           21               Mistranscription (deponent’s “yes” is audible in
                     REASON____________________________________________
                                   the deposition video)
           22
                                                                                               09-Sep-22 | 21:00 PDT
           23        ________________________________                                   _______________
           24        MICHAEL FAHEY                                                      Date
           25

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             1       RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION
             2       MICHAEL FAHEY (JOB NO. 5300517)
             3                                        E R R A T A              S H E E T
             4            70
                     PAGE_____ LINE_____         “The first is “year,” right?”
                                    22-24 CHANGE________________________

             5        to “Q. The first is “year,” right?”
                     __________________________________________________
             6              Mistranscription
                     REASON____________________________________________
             7            86
                     PAGE_____      8
                               LINE_____       “we count it as” rather than
                                         CHANGE________________________
             8       “would be counted as”
                     __________________________________________________
             9              Mistranscription
                     REASON____________________________________________
           10        PAGE_____ LINE_____ CHANGE________________________
           11        __________________________________________________
           12        REASON____________________________________________
           13        PAGE_____ LINE_____ CHANGE________________________
           14        __________________________________________________
           15        REASON____________________________________________
           16        PAGE_____ LINE_____ CHANGE________________________
           17        __________________________________________________
           18        REASON____________________________________________
           19        PAGE_____ LINE_____ CHANGE________________________
           20        __________________________________________________
           21        REASON____________________________________________
           22
                                                                                               09-Sep-22 | 21:00 PDT
           23        ________________________________                                   _______________
           24        MICHAEL FAHEY                                                      Date
           25

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                  Federal Rules of Civil Procedure

                                  Rule 30



     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




     DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

     2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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